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                            FUNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                             CASE NO. 19-21147-CIV-GOODMAN
                                    [CONSENT CASE]

  ERIC ROMANO, et al.,

         Plaintiffs,
  v.

  JOHN HANCOCK LIFE INS. CO. (USA),

        Defendant.
  _____________________________________/

       REDACTED1 ORDER ON DEFENDANT’S SUMMARY JUDGMENT MOTION

         “Life is a sum of all our choices.”

                -Albert Camus (French philosopher, author and journalist, 1913-1960)

         Plaintiffs Eric and Todd Romano, trustees of an ERISA2-defined contribution plan

  (“the Romanos” or “Plaintiffs”), filed a two-count lawsuit against Defendant John

  Hancock Life Ins. Co. (USA) (“John Hancock”), which sold them, as trustees of a 401(k)

  Plan, a Group Variable Annuity Contract. Plaintiffs sued on behalf of a putative class of



  1
          Initial Note: The Undersigned filed an unredacted version of this Order under
  seal. [ECF No. 331] This is the public version of the Order filed with minor redactions
  requested by Defendant [ECF No. 336-1].

  2
          ERISA is the Employee Retirement Income Security Act of 1974. The Department
  of Labor, the Pension Benefit Guaranty Corporation and the Internal Revenue Service are
  the agencies responsible for administering ERISA. Mead Corp. v. Tilley, 490 U.S. 714, 722
  (1989).
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  persons who owned variable annuity contracts from John Hancock. The Court granted

  Plaintiffs’ motion for class certification; notice of this has been sent to Class Members.

  [The Court wanted to have the notice provided and the opt-out period completed before

  ruling on the merits of John Hancock’s summary judgment motion. That procedural

  preference has now been achieved, and the Defendant’s summary judgment motion is

  now ripe for a merits-based ruling.].

        For the reasons outlined below, the Undersigned grants the motion. At bottom, by

  way of overall summary, John Hancock did not have an obligation under ERISA to

  provide its customers with rebates for the foreign tax credits (“FTCs”) it used. Likewise,

  the contracts at issue here did not impose such a requirement on John Hancock. Its

  customers (such as Plaintiffs) could not themselves have used those FTCs, which are not

  transferable. Only John Hancock could have used the FTCs at issue.

        Without John Hancock’s advice or other involvement, Plaintiffs chose investments

  which generated FTCs for which John Hancock did not provide a rebate. And although

  Plaintiffs could have tried to negotiate with John Hancock for rebates or credits (for the

  FTCs) or other, better pricing, they did not, choosing instead to invest in the funds which

  they selected. John Hancock did not violate a fiduciary duty of loyalty or engage in a

  prohibited transaction by complying with the parties’ contracts and by engaging in FTC

  transactions authorized by the federal tax code.


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           Moreover, when Plaintiffs replaced John Hancock with another entity to provide

  similar recordkeeping services for their 401(k) plans, they chose a firm which also did not

  provide rebates or credits for FTCs. There is no evidence in this record that Plaintiffs have

  filed an action against the replacement entity, nor is there evidence that Plaintiffs even

  voiced any dissatisfaction with the new arrangement, which they also chose, even though

  it lacks the same FTC rebates or credits as the agreements Plaintiffs challenge here.

  Plaintiffs’ fundamental theory, while creative,3 does not support their claims under the

  undisputed facts. Accordingly, the Court concludes that summary judgment for John

  Hancock is warranted.4

      I.      Summary of Plaintiffs’ Claims and Overall Introduction

           The Romanos jointly own Romano Law PL (“Romano Law”). In 2014, Plaintiffs

  established a 401(k) plan for Romano Law, the Romano Law PL 401(k) Plan (the “Plan”).



  3
         Plaintiffs have not called the Court’s attention to any case law authority in which
  an insurance entity was held to have violated its fiduciary duty under ERISA or to have
  engaged in a prohibited transaction by using FTCs unavailable to the Plan trustee or
  beneficiaries. Of course, John Hancock has not relied on any case law authority which
  specifically holds to the contrary. Apparently, Plaintiffs’ theory about FTCs in an ERISA
  setting is a novel one.

  4
          In the Order granting Plaintiffs’ class certification motion, the Undersigned
  flagged the possibility of a potential defense summary judgment, noting that the
  certification ruling “hardly means that Plaintiffs will prevail on the merits.” I also
  highlighted the point that John Hancock “needs to convince the Court of only one of these
  [multiple] arguments [in its then-pending summary judgment motion] in order to obtain
  a favorable summary judgment ruling.” [ECF No. 295, p. 60] (emphasis added).
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  The Romanos named themselves trustees of the Plan, and they chose to engage Christian

  Searcy, Jr. (“Searcy”) to recommend service providers and investments for the Plan,

  among other responsibilities.

        John Hancock is an insurance company that, relevant here, offers recordkeeping

  services to 401(k) plans. The retirement product at issue is the John Hancock Signature

  product, which is provided through a group variable annuity contract.

        In connection with establishing their Plan, the Romanos entered into a group

  variable annuity contract (“GAC” or “Contract”) and a Recordkeeping Agreement

  (“RKA”) with John Hancock to provide “administrative and recordkeeping services” and

  a platform of investment options for the Plan.

        The Contract provided Plaintiffs, on behalf of their Plan, with access to John

  Hancock separate accounts, which could then be used as the Plan’s funding mechanism.

  An insurance company separate account is “an accounting entity created by and under

  the control of an insurance company.” John Hancock was the owner of the assets held in

  the separate accounts. The separate accounts are divided into sub-accounts, and each sub-

  account serves as a “conduit” vehicle to allow investment in a pre-specified mutual fund.

        Some sub-accounts available under the Contract use mutual funds that invest in

  foreign securities. Upon Searcy’s recommendations, the Romanos selected some of these

  funds. Investments in foreign securities may be assessed income or related taxes by the


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  country of domicile (foreign taxes) on income related to those investments.

         U.S. taxpayers who accrue or pay foreign taxes to a foreign country on income that

  is also subject to U.S. taxes may, under certain circumstances, be able to take an FTC

  against their U.S. tax liability (Code §§ 27, 901–09), or, alternatively, deduct such amount

  from their U.S. taxable income.

         The foreign taxes paid by John Hancock that are at issue in this case, and that are

  factored into the determination of the FTCs, involve foreign taxes paid by mutual funds.

  Those funds are owned by John Hancock separate accounts which are deemed paid by

  John Hancock pursuant to Internal Revenue Code provisions applicable specifically to

  mutual funds and their shareholders.

         During certain years at issue in this case, John Hancock, as owner of the mutual

  fund shares held in the separate accounts, qualified for offsetting FTCs.

         Plaintiffs allege that John Hancock improperly “took” the FTCs by not disclosing

  what it did and by not rebating (or returning or refunding or crediting) those amounts

  back to Plaintiffs. Although Plaintiffs themselves could not have used the FTCs, they

  argue that John Hancock should have somehow passed on to them the financial benefit of

  the FTCs through a rebate or credit.

         Plaintiffs bring two ERISA counts against John Hancock. Count I alleges a breach

  of the “fiduciary duty of loyalty” by “receiving and retaining Plan Foreign Tax Credits


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  for [John Hancock’s] own benefit, and by failing to appropriately disclose its retention of

  Plan Foreign Tax Credits . . . .” [Compl. ¶ 63, ECF No. 1]. Count II alleges violations of

  two prohibited transaction provisions, ERISA §§ 406(b)(1) and (b)(3), 29 U.S.C. §§

  1106(b)(1) and (b)(3), also relating to FTCs. Id. ¶¶ 67-73.

         Plaintiffs ask the Court to require John Hancock to “make good to the Plan all

  losses to the Plan” and “damages paid to the Plan.” Id. (prayer for relief ¶¶ C and H).

  They also seek an imposition of a constructive trust as to amounts by which John Hancock

  was allegedly “unjustly enriched,” and “equitable restitution and disgorgement.” Id.

  (prayer for relief ¶¶ D and E).

         Plaintiffs withdrew their requests for injunctive and declaratory relief. [ECF No.

  152]. They also withdrew their demand for an Order permitting the withdrawal of any

  and all amounts payable under the Contract without imposition of a surrender fee.

         John Hancock asserts three grounds to support its summary judgment motion: (1)

  John Hancock is not an ERISA fiduciary for offering or administering separate accounts

  as conduit vehicles for retirement plan investments; (2) John Hancock’s compliance with

  the Internal Revenue Code in taking the FTCs into account in the determination of its

  consolidated U.S. federal income tax liability does not violate ERISA; and (3) Plaintiffs

  cannot establish a loss or an injury required for the monetary relief they seek because

  their retirement plan paid no U.S. taxes (and therefore is not eligible for FTCs) and


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  incurred no loss on account of John Hancock’s own tax obligations. For all practical

  purposes, a portion of John Hancock’s third theory is akin to the argument that Plaintiffs

  lack Article III standing to seek monetary damages. John Hancock asserts this Article III

  argument, as well.

      II.    Undisputed Facts5




  5
         The undisputed facts are generated from the paragraphs in the statement of facts
  or response to the statement of facts which the respective opposing party expressly
  agreed are undisputed. For those purported facts which the opposing party classified as
  partially or fully disputed, the Undersigned analyzed the position to see if the facts are
  genuinely disputed. The statement of facts used in this Order (1) includes only the
  undisputed portions; (2) notes the partial dispute; or (3) clarifies a partially or fully
  disputed response to reflect the actual undisputed portion.

          The Undersigned will retain the paragraph numbering used by the parties. The
  abbreviation “N/A” means that the paragraph is disputed (and cannot be clarified or used
  at all as an undisputed fact). Most of the facts that the parties say are disputed are, in fact,
  either undisputed or could be clarified or modified to result in an undisputed fact. The
  Undersigned sometimes changed the wording of an undisputed fact for stylistic and/or
  grammatical purposes. In addition, to enhance readability, I removed the specific record
  citations. They can be found in the source document, if needed.

         If a party relied upon an expert witness opinion to support a purportedly
  undisputed fact but I granted a motion to strike or exclude that opinion, then the fact is
  deemed disputed if the opposing party challenged it with a still-viable evidentiary
  reference.

        If a party argued that a fact was disputed but did not provide record evidence to
  support the contention, then I deemed the fact to be undisputed if otherwise supported by
  record evidence. And if a party merely quibbled over the wording but substantively did
  not adequately challenge the relevant portion of a purportedly undisputed fact, then the
  Court deemed the core fact to be undisputed.
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                   John Hancock’s Statement of the Relevant Undisputed Facts

        1. John Hancock is an insurance company that, among other things, offers

  recordkeeping services to 401(k) plans.

        2. John Hancock offers a retirement product called the John Hancock Signature

  product, which is provided through a group variable annuity contract (“GAC”).

        3. A GAC is a contract used as “a funding vehicle to administer a group retirement

  plan; and that vehicle would use separate accounts and subaccounts to invest in

  underlying investment products that would be offered to plan participants.”

        4. GACs are sold through registered broker dealers and investment advisors.

        5. The Romanos jointly own Romano Law.

        6. In 2014, the Romanos established a 401(k) plan for Romano Law, the Romano

  Law, PL 401(k) Plan (the “Plan”).

        7. Christian Searcy, Jr. (“Searcy”) received an M.B.A. from the Duke University

  Fuqua School of Business in 2009.

        8. Searcy has been a licensed financial advisor since 2003.

        9. Searcy holds a State of Florida Life, Health, and Variable Annuity license and

  other credentials, including being an Accredited Investment Fiduciary and Certified

  Private Wealth Advisor.


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         10. As of July 2014, the Romanos had little prior investment experience.

         11. The Romanos named themselves trustees of the Plan.

         12. The Romanos engaged Searcy as the Plan’s investment advisor to “assist them

  with selecting investments to be made available under the [P]lan” and in “reviewing the

  [Plan’s] service providers” (i.e., recordkeepers), among other responsibilities.

         13. Searcy professed to have had some understanding of foreign tax credits

  (“FTCs”) before 2014. [Plaintiffs provided a one-word response -- “disputed” -- but did

  not, contrary to Local Rule 56.1, provide any record cites for support. Accordingly, the

  Undersigned deems this statement to be undisputed.].

         14. On August 15, 2013, Searcy received an email from John McGuire, a

  representative from Securian Financial Group (“Securian”), stating that Securian was the

  “ONLY company that daily credits 100% of ALL . . . foreign tax credits.”

         15. “Securian’s retirement plan products are offered through a group variable

  annuity contract issued by Minnesota Life Insurance Company.”

         16. Searcy spoke with Bruce Cobey (“Cobey”), a regional vice president for John

  Hancock, who confirmed to Searcy that John Hancock did “not credit foreign tax credits.”

  [But, according to Plaintiffs’ clarification, Cobey did not recall when these discussions

  occurred.].

         17. On June 16, 2014, Searcy sent an email to Cobey with information relating to


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   the Plan.

          18. On June 19, 2014, Katrina Porter of John Hancock emailed Searcy a proposal

   for the Plan, stating that “all related documents can be accessed” through a link in the

   proposal that redirects to a John Hancock website.

          19. On June 24, 2014, Searcy forwarded the proposal to the Romanos and a

   colleague of theirs, Elliot Richman.

          20. Searcy and the Romanos scheduled a meeting to discuss the John Hancock

   proposal on June 26, 2014.

          21. Eric Romano scheduled to meet again with Searcy on July 17, 2014, to sign “the

   paperwork to get the [P]lan up and running.”

          22. On July 17 and July 28, 2014, Eric Romano and Todd Romano, respectively,

   signed the Contract application and Recordkeeping Agreement for the Plan (“RKA”).

          23. The RKA authorized the Plan to pay fees to John Hancock and Searcy for their

   services, as reflected in the proposal Searcy presented. [But Plaintiffs emphasize that the

   RKA did not authorize John Hancock to charge the Plan for unspecified fees or to retain

   FTCs. This is not exactly a dispute – it is merely a response designed to provide additional

   background to arguably place the fact in context].

          24. Those fees were “lower than at least 75 percent of the total plan fees” charged

   by providers at that time, as reflected in an industry survey. But this analysis did not


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   evaluate the foreign taxes paid or the FTCs generated.

          25. The document “Understanding Your Administrative Services” “provides

   information on the services . . . provided under the [RKA].”

          26. The Contract specifies that John Hancock “agrees to perform certain

   administrative and recordkeeping services related to the Contract . . . in addition to

   providing the investment and distribution options contained herein . . . .”

          27. Cobey provides “proposals and related materials to [] advisors and consultants

   [who] then present contract proposals to their clients . . . .”

          28. Cobey is “not usually involved at the point of sale when advisors or consultants

   present a [John Hancock] proposal.”

          29. John Hancock does not control which documents advisors decide to provide,

   if any, to trustees in meetings concerning service arrangements. But John Hancock

   provides materials which investment advisors can use, if they wish, in discussions with

   trustees.

          30. John Hancock does not “decide whether [a] client comes on board with John

   Hancock,” and is “not involved in their decision-making process.” Plaintiffs say that John

   Hancock influences the decision-making process with the information it provides.

   (emphasis by the Court).

          31. Plaintiffs did not recall anyone from John Hancock speaking or meeting with


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   them before entering into the Contract.

         32. As defined in the John Hancock GAC with the Romanos, as Trustees, an

   insurance company separate account is “an account which is segregated from the general

   funds of the Company. Any income, gains, or losses whether realized or unrealized, from

   assets in a Separate Account will be credited to or charged against said account without

   regard to the other income, gains, or losses of the Company. Assets allocated to a Separate

   Account shall not be chargeable with liabilities arising out of any other business the

   Company may conduct. The Company owns the assets held in the Separate Accounts

   and is not a Trustee as to such amounts.” (emphasis added).

         33. John Hancock “owns the assets held in the Separate Accounts and is not a

   Trustee as to such amounts.”

         34. The separate accounts are divided into sub-accounts and “each subaccount

   corresponds to an investment option that is offered in the Signature platform” “that ha[s]

   been selected by the plan sponsor.”

         35. John Hancock made available more than 200 sub-accounts from which the

   Romanos could select for their Plan.

         36. John Hancock does not provide advice to plan fiduciaries as to which sub-

   accounts should be selected for a retirement plan.

         37. The Contract provides that “[w]ithdrawals from Sub-accounts . . . will be made


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   at Market Value” which, when used in reference to a Sub-account, means “the value of

   an investment on a Valuation Date. It is computed by using closing prices, on nationally

   recognized stock exchanges or over-the-counter markets where no formal exchange

   exists, on that date to the extent possible. When the investment is in shares of a mutual

   fund, trust or portfolio thereof, it is computed by using the net asset value per share

   provided by that mutual fund, trust or portfolio on that date.”

          38. Keith Holden, John Hancock’s 30(b)(6) witness concerning separate account

   operation, explained that John Hancock “act[s] on instructions from plans and

   participants” and executes “transactions as a result” of those instructions. [Plaintiffs

   contend that this is an incomplete description of his testimony, but none of the other

   transcript pages reveal contradictory or inconsistent testimony. Every reference to a

   deposition transcript in any lawsuit is, by definition, “incomplete” because it focuses on

   less than the entire transcript. But Holden’s testimony excerpted above is a fair and

   accurate summary of the point at issue, so this is not actually a legitimate factual dispute.

   Instead, it is an undisputed fact.].

          39. In the Contract, Plaintiffs and John Hancock agreed that John Hancock “does

   not assume any fiduciary responsibility of the Contractholder, Plan Administrator, Plan

   Sponsor or any other Fiduciary of the Plan . . . .” (emphasis added) [Plaintiffs contend

   that this is a disputed fact, but that position is merely referencing other language which


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   is discussed in paragraph 40, below].

         40. The RKA states, in part: “To the extent John Hancock maintains a separate

   account(s) in which the [P]lan invests, John Hancock is a limited fiduciary for the

   exclusive purposes of holding plan assets in its separate account(s), voting proxies, and

   acting only in accordance with directions from trustee(s), participants and beneficiaries,

   as provided in this agreement, the [C]ontract and the supplementary documents.”

   (emphasis added).

         41. The RKA’s section on “fiduciary status” concludes by stating: “John Hancock

   will not have any discretionary authority or responsibility for the management or control

   of the separate accounts.” [Plaintiffs note that the RKA also discusses the situation in

   which John Hancock is a limited fiduciary. This reality does not, however, render this

   statement “disputed.” Plaintiffs’ so-called dispute is simply a note that the RKA contains

   other language in which the term “fiduciary” is mentioned.].

         42. The RKA incorporates documents, including the Supplemental Information

   Guide (“SIG”), Services Guide, Fund Information Guide (“FIG”), and Summary of

   Administrative   Maintenance     Charge    (AMC)    and    Revenue    Sharing   Received

   (“Supplemental Disclosures” or “Supp. Disclosures”).

         43. The Contract, SIG and Supplemental Disclosures address fees and credits

   applicable to John Hancock’s separate accounts.


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         44. John Hancock applies “direct administrative charges” to the sub-accounts,

   called the “Annual Maintenance Charge” and “Sales and Service Fee.”

         45. John Hancock also receives fees referred to as “revenue sharing.” Specifically,

   “[t]he revenue sharing as well as the credits that the Company receives in respect of an

   underlying investment vehicle affiliated with the Company are sometimes generically

   referred to as ‘revenue from underlying fund.’ The amount of revenue received by the

   Company from the underlying vehicle varies from Fund to Fund. The Company uses all

   revenue received from the underlying mutual fund, trust or portfolio and the AMC is

   equal to 0.60% of your Contract assets invested in each Sub-account. If we do not receive

   any revenue from an underlying mutual fund, trust or portfolio, the AMC for the Sub-

   Account will be equal to 0.60%. In the event of any change to the revenue received from

   an underlying mutual fund, trust or portfolio, the AMC for the applicable Sub-account

   will be increased or decreased, as appropriate, so that the sum of the AMC and such

   changed revenue continues to equal 0.60%.”

         46. The SIG states that John Hancock “applies the total revenue received from the

   underlying funds and the sub-accounts (i.e., ‘Total Revenue used towards Plan Cost’) to

   offset the cost of the Recordkeeping Services provided under your Contract (as described

   in the Understanding Your Administrative Services Guide ) as well as, if applicable, to

   pay for other plan costs that you have approved (for example, the costs for payment of


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   the compensation of plan intermediaries such as the financial representative or plan

   consultant).”

          47. N/A

          48. The FIG contains additional information about the sub-accounts, and their

   investments and fees, after which it explains, in bold type, that the: . . . prospectuses, or

   offering memorand[a] for each sub-account’s underlying investment vehicle . . . are

   available upon request. These documents contain complete details on investment

   objectives, risks, fees, charges and expenses as well as other information about the

   underlying investment vehicle, which should be carefully considered. Please read these

   documents carefully prior to investing.

          49. The Supplemental Disclosures state that “prospectuses provide disclosure of

   the payments received by John Hancock and its affiliates that are eligible indirect

   compensation.” [But, as Plaintiffs note, the prospectuses do not disclose the FTCs which

   John Hancock uses, when available].

          50. John Hancock also advised: “For more information on a particular investment

   option, please refer to the Investment Comparative Chart (ICC) or your John Hancock

   representative.”

          51. Plaintiffs could not recall reading the prospectus of any fund that they selected

   for the Plan.


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          52. Plaintiffs could not recall performing any independent due diligence or

   research on any investment option before they agreed to Searcy’s recommendations.

          53. Upon Searcy’s recommendations, Plaintiffs selected some sub-accounts that

   use mutual funds that invest in foreign securities.

          54. Investments in foreign securities may be assessed income or related taxes by

   the country of domicile (foreign taxes) on income related to those investments.

          55. “To figure its NAV, a [mutual] fund adds up the total value of its investment

   holdings, subtracts the fund’s fees and expenses, and divides that amount by the number

   of fund shares that investors are currently holding.” [Plaintiffs contend that this describes

   a “general process that is not necessarily applicable to each mutual fund.”].

          56. The Vanguard Total World Stock ETF was one of the mutual funds held in a

   Plan sub-account.

          57. The prospectus of the Vanguard Total World Stock ETF states, in part:

          The Fund may be subject to foreign taxes or foreign tax withholding. . . . If at the

   end of the taxable year more than 50% of the value of the Fund’s assets consists of

   securities of foreign corporations, and the Fund makes a special election, you [the

   shareholder] will generally be required to include in your income, for U.S. federal income

   tax purposes, your share of the qualifying foreign income taxes paid by the Fund in

   respect of its foreign portfolio securities. . . . You may qualify for an offsetting credit or


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   deduction under U.S. tax laws for any amount designated as your portion of the Fund’s

   foreign tax obligations, provided that you meet certain requirements. See your tax

   advisor or IRS publications for more information.

          58. John Hancock is required to “increase [its] taxable income”, or “gross it up for

   the foreign taxes that were paid”, as to mutual fund shares owned in its separate accounts

   if the fund elects to require its shareholders to do so. [Citing the De Simone expert report,

   Plaintiffs say the statement is “disputed because this statement does not reflect the

   foreign-tax-credit component of the transaction. But this point does not make the

   statement disputed; it merely tries to place the statement in context by adding an

   additional consideration].

          59. Because “any income distributed in . . . [a] 401(k) account from U.S.-based

   sources will be untaxed, but any income distributed from foreign sources will have been

   reduced by any foreign taxed paid on those distributions, [there is] no way for the [401(k)]

   accountholder to offset those foreign tax payments by using the foreign tax credit or

   deduction.” [Plaintiffs challenge this as disputed, saying that John Hancock “can provide

   benefits to offset the tax payments, just as a Hancock competitor, Securian, does.” But this

   does not make John Hancock’s undisputed fact disputed. Instead, Plaintiffs are merely




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   offering an additional, but not contradictory, point.].6

          60. John Hancock’s U.S. Tax group is responsible for the company’s consolidated

   corporate tax filings, which are filed together for all of its separate and general accounts,

   and across all of its business units on a consolidated basis as part of an affiliated group

   of companies under John Hancock Financial Corp.

          61. In applying any allowable FTCs during the putative class period, the U.S. Tax

   group complied with Internal Revenue Service (“IRS”) Private Letter Ruling 9528004

   (March 29, 1995).

          62. Plaintiffs periodically reviewed the Plan’s investments and performance with

   Searcy and, at times, one of Searcy’s colleagues, Melanie McDonald.

          63. On February 13, 2019, Plaintiffs and Searcy determined that “everything was

   in pretty good order” with the Plan and its investments.

          64. On August 10, 2020, Plaintiffs resolved that Searcy would “coordinate the

   beginning of an RFP [request for proposal]” for recordkeeping services.

          65. Searcy determined which recordkeepers would be selected for the 2020 RFP.



   6
           To provide a factually-simple analogy, assume that a plaintiff in a garden-variety
   car collision personal injury case submits an affidavit that the traffic light at issue was red
   for the defendant driver. Assume that the defendant submits a response, arguing that the
   fact is disputed, and submitting affidavits that it was storming and the visibility was
   poor. The weather and visibility might be additional facts leading to another argument,
   but they do not prevent the fact about the traffic light being red from being treated as
   undisputed.
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          66. The 2020 RFP recipients included John Hancock, Fidelity, and One America.

          67. Searcy does not recall whether he solicited a proposal in the 2020 RFP from

   Securian or any provider other than John Hancock, Fidelity, and One America.

          68. The minutes of the November 19, 2020 meeting regarding the RFP do not reflect

   discussion of FTCs.

          69. Plaintiffs, with Searcy’s participation, selected Fidelity as their new

   recordkeeper, given factors such as recordkeeping cost, brand recognition, “high level

   technology,” and “a single login integration.” [Plaintiffs brand this as disputed, arguing

   that this statement “does not identify all of the factors that were considered.” But

   Plaintiffs do not provide a record cite, nor do they explain what other factors were in fact

   considered. So the Undersigned deems this to be undisputed. Furthermore, even if other

   factors were considered, this would not render the statement genuinely disputed. Instead,

   it would mean that there might have been some additional (but not contradictory) factors

   considered.].

          70. Fidelity uses a trust platform for offering investment options to the Plan.

          71. Under a trust platform, a trust that does not file U.S. taxes directly owns a

   plan’s investments.

          72. Trusts established for qualified retirement plans “do not have the ability to file

   for the foreign tax credit.”


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          73. After selecting Fidelity as their recordkeeper in 2020, the Romanos, relying

   upon Searcy’s recommendation, selected as Plan options mutual funds that invest in

   foreign securities.

          74. Even after March 22, 2021, when Fidelity became its recordkeeper, the Plan still

   does not receive any credits relating to foreign taxes.

          75. Plaintiffs and the Plan were not charged any withdrawal or discontinuance fee

   on the termination of the Contract with John Hancock, consistent with the lack of any

   such fee on the Contract’s “Withdrawal/Discontinuance Charge Scale.”

          76. Plaintiffs’ expert, Barry Mukamal, testified that his calculations concerned only

   the “monetary benefit that John Hancock or Manulife actually received . . .” from its

   retention of FTCs. He conceded that his report does not use the word “damages.” He

   used the term “monetary relief,” and said, when asked what he meant by “monetary

   relief”, “I don't know if these -- under -- in legal terminology rise to the level of damages.

   I mean, one could say they are monetary damages. Monetary relief is a measure of the

   relief that the plaintiff is claiming that the class is entitled to under ERISA. My -- my

   calculation is a monetary benefit that John Hancock or Manulife actually received in

   monetary relief if plaintiffs reveal in the case.” (emphasis supplied).

          Mr. Mukamal was asked if he was offering an opinion one way or the other on

   whether Plaintiffs were damaged by John Hancock’s actions. His answer was:


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                  Well, my -- if they're entitled to monetary relief in plain vernacular
          they were damaged by not receiving it. So I don't want to parse words, but
          it's not really a damage calculation in the traditional sense that I'm used
          to. It's a benefit conferred on one party to a lawsuit if the other party
          prevails on its legal theories. (emphasis supplied).

                          Plaintiffs’ Statement of Additional Undisputed Facts



          77. The RPS business unit administers 401K accounts.

          78. Rick Carlson, vice president Tax and Tax Controller for John Hancock, testified

   that a mutual fund can elect under certain circumstances to pass the foreign tax credit to

   the shareholder.

          78-a.7 Mr. Carlson testified that “[a] tax credit will reduce a tax liability.”

          78-b. When asked “what effect claiming the credit, assuming you’re able to claim

   it, what effect that has on tax liability. It reduces it by the value, it reduces the tax liability

   by the value of the credit; is that correct?”, Mr. Carlson testified, after an objection, “Yes.”

          79. N/A

          79-a. N/A




   7
          Some of Plaintiff’s additional facts contain sub-paragraphs, such as 78-1 or 79-b,
   because the Court required Plaintiff to resubmit certain facts in a streamlined format.
   Because this requirement occurred after John Hancock already filed a response to the
   additional facts, the Court determined it would be more efficient to include sub-
   paragraphs, which would enable all other paragraph numbers to remain as originally
   designated.
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          79-b. Some separate accounts own mutual funds which incur foreign taxes to

   which foreign tax credits may be allowed under the Code.

          80. When John Hancock is not able to utilize foreign tax credits in a certain year,

   the “[f]oreign tax credits can be carried back one year and carried forward ten years as a

   general rule.”

          81. A foreign tax credit “comes through the income statement [of John Hancock]

   when the credit is claimed.”

          82. John Hancock’s U.S. Tax Division provides quarterly reporting which reflects

   the estimated foreign taxes paid attributable to business units for a given year. John

   Hancock’s reports also provide estimates of the FTCs it will be able to use for a tax year.

          82-a. Some John Hancock documents and testimony refer to foreign tax credits as

   tax benefits. The foreign tax credit is a reduction to tax liability and the foreign tax gross

   up is the increase to taxable income for the foreign taxes paid.

          82-b. John Hancock uses this data for financial reporting, including quarterly

   financial statements.

          82-c. In general, these data show that foreign tax credits increase John Hancock’s

   post-tax earnings approximately $15 million to $20 million per year.

          83. John Hancock calculated the tax expense for foreign tax credits by multiplying

   the value of the foreign tax credit by the applicable tax rate for the year.


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          84. For purposes of this litigation, John Hancock created and produced

   spreadsheets with the amount of foreign tax credits generated on an annual basis from

   each mutual fund owned in the RPS separate accounts from 2013 through 2020.

          84-a. Jacqueline Alvino, an assistant vice president in US Tax for John Hancock,

   testified that John Hancock “could do a pro rata allocation” when asked “if John Hancock

   wanted to give credits back to these different funds that generated the foreign tax credits,

   it could use this spreadsheet to determine how much to credit each of those funds.”

          85. N/A

          85-a. N/A

          85-b. N/A

          86. Mr. Carlson testified to his belief that if a mutual fund in an RPS separate

   account earns a $10 dividend abroad and $2 is withheld in foreign taxes, then the separate

   account receives $8, John Hancock’s reserve increases by a corresponding $8, and John

   Hancock reports $10 as income. [But Mr. Carlson noted that he is not responsible for those

   amounts].

          87. The foreign tax gross up amount is equal to the amount of foreign tax credit.

          88. John Hancock attributes the benefits from foreign tax credits to the business

   units that generate them.

          89. The RPS business unit offers retirement plan services through group annuity


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            97. In the most recent year, the RPS business unit earned around             on a

   post-tax basis. The pre-tax earnings were less, and one reason the post-tax earnings were

   higher was because of foreign tax credits.

            98. John Hancock sets its prices for retirement plan services independent of the

   amount of foreign taxes generated.

            99. Contributions that are made to retirement plans that have group annuity

   contracts with John Hancock are placed into separate accounts. John Hancock ultimately

   owns the assets in the separate accounts, even though the funds come from retirement

   plans.

            100. John Hancock does the accounting and recordkeeping for the processing of

   transactions. But John Hancock says it does not have “control” of the separate accounts,

   however.

            101. John Hancock makes no effort to pass on the benefit it receives from foreign

   tax credits to the various retirement plans and sub-accounts that generated the benefit.

            102. Hypothetically, sub-accounts could be credited by the value of foreign tax

   credit benefits to distribute the benefits to retirement plans on a pro rata basis.

            103. Mr. Holden testified that he presumes that John Hancock does “not consult

   with the trustee [of a retirement plan]” when a decision is made to not credit the benefit

   of foreign tax credits to Separate Accounts.


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          103-a. John Hancock performs administrative and recordkeeping services for the

   separate accounts.

          103-b. John Hancock administers the assets in the Separate Accounts on behalf of

   plans and participants.

          104. N/A

          105. Plaintiffs’ expert opined that the monetary benefit that John Hancock received

   from the FTCs, including prejudgment interest, exceeds $90 million. [But John Hancock

   denies that Plaintiffs have any viable claim against it or any right of relief, so it deems the

   expert’s opinion to be disputed.].

                                Plaintiffs’ Different/Changing Positions

          John Hancock contends that there are inconsistencies and changes in Plaintiffs’

   legal position regarding the role that disclosures (or non-disclosures) play in connection

   with each of the two causes of action asserted in the Complaint:

          I. Plaintiffs’ Original Position: John Hancock’s alleged non-disclosure of its
   retention of tax benefits forms a basis of liability as to both Count I (breach of the duty of
   loyalty) and Count II (prohibited transactions)



          Plaintiffs originally asserted that Count I of their Complaint, for breach of the duty

   of loyalty under 29 U.S.C. § 1104(a), was based in part on John Hancock’s alleged failure

   to disclose its retention of foreign tax credits:

          •      “By receiving and retaining Plan Foreign Tax Credits for its own benefit,
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   and by failing to appropriately disclose its retention of Plan Foreign Tax Credits,

   Defendant failed to perform its duties for the sole benefit of the Plan, in breach of its

   fiduciary duty of loyalty.” [Complaint, ECF No. 1, p. 14 (emphasis added) (March 25,

   2019)].

             •     “In profiting from foreign tax credits without disclosing them or passing

   through a commensurate benefit to Plans that generated such credits, [John] Hancock

   failed to act solely in the best interest of the Plans and failed to defray reasonable expenses

   of administering the Plans.” [Plaintiffs’ Motion for Class Certification and Incorporated

   Memorandum of Law (“Class Cert. Motion”), ECF No. 94, p. 9 (July 26, 2021)].

             Plaintiffs asserted in their Motion for Class Certification that John Hancock’s

   alleged failure to disclose was also relevant to liability under Count II, the prohibited

   transaction claim brought under 29 U.S.C. § 1106(b)(1) and (b)(3):

             • “A covered service provider’s failure to make the disclosures required in the

   regulation renders its contract or arrangement with the plan unreasonable under §

   408(b)(2), and thus precludes the service provider from relying on the § 408(b)(2)

   exemption from the strict prohibitions of § 406. § 2550.408b-2(c)(1)(i) (“No contract or

   arrangement for services between a covered plan and a covered service provider, nor any

   extension or renewal, is reasonable within the meaning of section 408(b)(2) of the Act and

   paragraph (a)(2) of this section unless the requirements of this paragraph (c)(1) are


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   satisfied.”). Because [John] Hancock failed to disclose the foreign tax credits it received

   and retained as direct or indirect compensation, its agreements with the Plans are not

   “reasonable within the meaning of section 408(b)(2)” of ERISA, and thus constitute

   prohibited transactions.” [Class Cert. Motion, ECF No. 94, p. 10 (July 26, 2021)].

          II.    Plaintiffs’ Revised Position: Plaintiffs have not brought a misrepresentation
   claim, but disclosures are still relevant to Count II



          A. Plaintiffs’ statements that they have not asserted a misrepresentation or
          disclosure claim, and that disclosures are relevant only to Count II



          After John Hancock opposed Plaintiffs’ motion for class certification, Plaintiffs

   took the position that they had not asserted a misrepresentation or non-disclosure claim:

          • “Because Plaintiffs are not bringing simple misrepresentation claims, Hudson v.

   Delta Air Lines, 90 F.3d 451 (11th Cir. 1996), does not help [John] Hancock. That case

   involved an employer’s misrepresentations that a more lucrative retirement package

   would not be offered in the future. Id. at 453. To establish that the employer’s

   misrepresentations—the only conduct challenged in Hudson—caused them harm, class

   members needed to show that they ‘would have deferred their retirement in the hope

   that they would be eligible for [richer benefits] to be offered in the future.’” [Plaintiffs’

   Reply in Support of Motion for Class Certification (“Class Cert. Reply”), ECF No. 115, p.

   7 (August 20, 2021)].


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          • “No such individualized inquiries are needed here because [John] Hancock’s

   challenged conduct—taking for itself benefits generated by Plaintiffs’ assets, not mere

   disclosure violations—directly caused each class member to suffer the same harm.

   Whether Plaintiffs would have made different decisions with different disclosures is

   irrelevant to the causation theory of Plaintiffs’ claims.” [Class Cert. Reply, ECF No. 115,

   p. 8 (August 20, 2021)].

          • “This is not a simple misrepresentation claim, so Plaintiffs do not and need not

   allege that fee negotiations with [John] Hancock would have been any different with

   accurate disclosures, or that Plaintiffs relied on [John] Hancock’s misleading statements.”

   [Class Cert. Reply, ECF No. 115, p. 6 (August 20, 2021)].

          • “Certainly if there's a claim alleging some sort of misrepresentation, that could

   give rise to a reliance claim. But that's not the claim we have here. We have a claim that

   John Hancock took benefits that were created by these plans, that are assets of the plans,

   kept it for itself when it had no right to do so.” [Transcript of October 5, 2021 Motion

   Hearing (“10/5/21 Hearing Tr.”), ECF No. 154, 24:10-15].

          • “Maybe in some cases, like some of the cases they cited in which the theory of

   liability is that someone would have made a different investment decision if a disclosure

   had been made, or someone would have acted differently if a disclosure had been made,

   those types of cases could require reliance, because if you can't prove that you would


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   have acted differently if different information was provided, then I can understand then

   you can't prove that damages would have been different. That's not our claim here. We're

   not alleging that the Romanos would have invested in different plans. We're not alleging

   that other class members would have invested in different plans. Instead, we're simply

   alleging: John Hancock basically took something that wasn't John Hancock's. And it

   breached its fiduciary duty in doing so.” [10/5/21 Hearing Tr., ECF No. 154, 24:18-25:7].

          • “I don't think that existence or absence of disclosures is necessary to prove that

   John Hancock is in essence self-dealing by taking the foreign tax credits that are generated

   by the assets of retirement plans and keeping it for itself without passing on a benefit to

   the plans themselves.” [10/5/21 Hearing Tr., ECF No. 154, 14:11-15].

          • “[THE COURT:] Aren't you at trial, Mr. Weinshall, going to present to the jury

   evidence that the contract didn't disclose the foreign tax credit; the contract didn't disclose

   that John Hancock was going to keep the credit; there were no disclosures about not

   helping defray expenses by using some or all of the tax credit; that nobody from John

   Hancock made a disclosure? Aren't those things that you're going to be bringing out to

   the jury because you think it helps your claim? I mean, listen, if I was a plaintiff's lawyer

   in your case, I would certainly do that. Aren't you planning on doing that? MR.

   WEINSHALL: I'm not sure it's essential to the claims.” [10/5/21 Hearing Tr., ECF No. 154,

   13:18-14:4].


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          • “[THE COURT:] My question was: At a trial, aren't you going to mention to the

   jury and in fact maybe even highlight to the jury the nondisclosures? MR. WEINSHALL:

   I think I will highlight what the contract says. And I will highlight what the fee

   disclosures say, just because that's what defines the relationship. And I'll say, you know:

   This is what the contract obligates John Hancock to do. This is what the regulation

   obligates John Hancock to do. And it didn't do that. It actually kept the benefit for itself.

   And that's it. It's pretty simple.” [10/5/21 Hearing Tr., ECF No. 154, 14:22-15:7].

          • “[THE COURT:] So can we fairly say that disclosure is part of your claim, part

   of your theory, part of your proof? Or is it largely irrelevant? MR. WEINSHALL: I’d say

   what matters is in the contract. And as to the prohibited transaction claim, what matters

   is in the specific fee disclosures. Other disclosures are not relevant.” [10/5/21 Hearing Tr.,

   ECF No. 154, 9:8-14].

          In a memorandum [ECF No. 312] filed before the summary judgment hearing,

   John Hancock posited that “these statements differed from Plaintiffs’ earlier statements .

   . . because they indicated that Plaintiffs’ claim for breach of the duty of loyalty in Count

   I was no longer based on John Hancock’s alleged failure to disclose its retention of foreign

   tax benefits.”

         B. Plaintiffs’ explanation that disclosures were relevant only to a defense of a safe
   harbor from prohibited transactions (Count II) under 29 U.S.C. § 1108(b)(2)



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          Plaintiffs also explained during the class certification briefing and argument that

   disclosures were relevant as to the question of whether John Hancock could defend

   against Count II (prohibited transactions) by relying on the disclosure safe harbor under

   29 U.S.C. § 1108(b)(2):

          • “So in a way, the disclosure or nondisclosure was sort of a preemptive attack of

   ours to undercut what is sometimes used as a defense in cases like this.” 10/5/21 Hearing

   Tr., ECF No. 154, 12:25-13:2.

          • “So the disclosure could only potentially be relevant -- and when I'm saying

   ‘disclosure,’ I mean in the contract -- could only potentially be relevant if the contract's

   laid out some sort of right for John Hancock to either receive this foreign tax credit or if

   it said: We're not going to give you this benefit; we're going to take this as compensation,

   or they said: We are going to give you this benefit. However it played out in the contracts.

   So we know the contracts don't contain any reference to foreign tax credits; and that again

   is from Ms. Hamilton's deposition testimony. And that's it. That's the only relevance it

   has to the contract and as to the prohibited-transaction claim. John Hancock cannot take

   advantage of the safe harbor unless it discloses in one of these regulatory disclosures that

   it receives compensation in the form of foreign tax credits. We know it didn't do that,

   again, because of Ms. Hamilton's testimony. And therefore, it cannot proceed under that

   safe harbor.” 10/5/21 Hearing Tr., ECF No. 154, 12:7-24.


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          • “The failure to disclose this compensation is what makes it unauthorized and a

   per se prohibited transaction under 29 U.S.C. § 1106 and 29 C.F.R. § 2550.408b-2.” [Class

   Cert. Reply, ECF No. 115, p. 4] (August 20, 2021).

          • “Its uniform failure to provide written disclosures of this compensation violates

   29 C.F.R. § 2550.408b-2(c)(iv)(C)(1)-(2), rendering its contracts with Plaintiffs and class

   members per se unreasonable under § 2550.408b2(c)(1)(i), and thus prohibited

   transactions under 29 U.S.C. § 406 [sic].” [Class Cert. Reply, ECF No. 115, p. 6] (August

   20, 2021).

         III.     Plaintiffs’ Further Revised Position: Disclosures are no longer relevant to
   Count II, but instead relate only to the duty of loyalty claim in Count I



          Subsequently, in opposing John Hancock’s Motion for Summary Judgment and

   Daubert motions, Plaintiffs asserted that John Hancock’s alleged failure to disclose its

   retention of foreign tax credits evidenced a breach of duty of loyalty under Count I and

   acknowledged that 29 U.S.C. § 1108(b)(2), and the disclosures provided for under its

   regulations (i.e., 29 C.F.R. § 2550.408b-2), do not apply to 29 U.S.C. § 1106(b)(1) and (b)(3).

          • “Plaintiffs agree with Hancock that satisfying ERISA § 408(b)(2) and its

   regulations does not exempt a fiduciary from liability under ERISA § 406(b). (ECF No.

   193 at 20.) Still, the disclosure obligations specified in ERISA § 408(b)(2) remain relevant

   to Plaintiffs’ loyalty claim under ERISA § 404. ‘The duty of loyalty is one of the common


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   law trust principles that apply to ERISA fiduciaries, and it encompasses a duty to

   disclose.’” [Plaintiffs’ Response in Opposition to Defendant’s Motion for Summary

   Judgment (“Summary Judgment Opposition”), ECF No. 267, p. 23] (December 14, 2021).

          • “That [John] Hancock not only refuses to adhere to this provision, but also

   declines to even disclose the substantial FTC benefits it receives, more than suffices to

   establish its breach of loyalty.” [Summary Judgment Opposition, ECF No. 267, p. 18]

   (December 14, 2021).

          • “The summary judgment evidence establishes that the FTCs are something ‘of

   monetary value,’ and [John] Hancock’s Rule 30(b)(6) witness testified that it did not

   disclose in writing to Plan fiduciaries its receipt and retention of FTCs. (PSOF, ¶ 23.) This

   is sufficient to establish a breach of the disclosure duty.” [Summary Judgment

   Opposition, ECF No. 267, p. 24] (December 14, 2021).

          • “Thus, [John] Hancock’s failure to comply with the disclosure obligations set

   forth in ERISA § 408(b)(2) provide[s] additional evidence to support Plaintiffs’ loyalty

   claim.” [Summary Judgment Opposition, ECF No. 267, pp. 21-22] (December 14, 2021).

          • “He has opined that [John] Hancock acted disloyally and has not followed best

   practices; and the entire case hinges on whether [John] Hancock breached its duty of

   loyalty to the Plan by improperly handling foreign tax credits and failing to provide the

   Plan with appropriate disclosures regarding their treatment.” [Plaintiffs’ Opposition to


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   Defendant’s Motion to Exclude Expert Reports and Testimony of Roger Levy, Esq. and

   Memorandum in Support (“Levy Opp.”), ECF No. 271, p. 10] (December 14, 2021).

          • “As Plaintiffs explain in their summary judgment response, which Plaintiffs

   incorporate herein, even if ERISA § 408(b)(2) does not provide an exemption to Plaintiffs’

   ERISA § 406(b)(1) and (b)(3) claims, [John] Hancock’s failure to disclose its compensation

   to Plaintiffs is still relevant for Plaintiffs’ breach-of-fiduciary-duty claim under ERISA §

   404.” [Plaintiffs’ Response in Opposition to Defendant’s Motion to Exclude Expert Report

   and Testimony of Lisa De Simone, PhD (“De Simone Opp.”), ECF No. 269, p. 8]

   (December 14, 2021).

          According to John Hancock, these statements differ from Plaintiffs’ statements

   during the class certification proceedings (see supra Section II) because (1) they assert that

   John Hancock’s failure to disclose its retention of foreign tax benefits is an independent

   basis for liability under Count I, and (2) they no longer tie John Hancock’s liability under

   Count II to the disclosure requirements of the regulations promulgated under 29 U.S.C.

   § 1108(b)(2).

                              The Summary Judgment Motion Hearing

          The Court held a two-hour Zoom hearing on the summary judgment motion. In

   addition to repeating the arguments raised in the memoranda, the parties provided some

   additional points. The Court will highlight some of them:


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          John Hancock contends that Plaintiffs, in effect, want to avoid paying foreign taxes

   on their international investment selections. That is an understandable goal, of course,

   but John Hancock contends that it is not what Plaintiffs bargained for in their contracts.

          John Hancock also urged the view that it is improper to use ambiguous language

   as a basis for establishing fiduciary duties.

          John Hancock emphasized that there is no law requiring it to disclose its tax

   situation and activities to Plans like the ones for which Plaintiffs are trustees. As

   highlighted by defense counsel, Plaintiffs never requested information from John

   Hancock about whether it used FTCs for itself (or about any other aspect of its tax

   position), and John Hancock had no affirmative obligation to provide that information.

          Similarly, because the contracts are silent about John Hancock’s ability to retain

   and use the FTCs, it was permitted to use them.

          According to John Hancock, Plaintiffs did not suffer any monetary loss, and the

   Plan is in the same position, regardless of whether John Hancock used the FTCs.

          John Hancock advised, in response to a question from the Undersigned, that there

   is no evidence in the record explaining why it chose to not disclose to the Plan trustees

   its view that it could use the FTCs. But, defense counsel noted, Plaintiffs likely would

   have still chosen John Hancock even if they had been provided with a disclosure --

   because they later selected another entity to take over for John Hancock and that firm did


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   not credit back or rebate FTCs either.

          Plaintiffs noted that FTCs are listed on John Hancock’s financial statements, which

   means that it kept track of them even though it had no discussion with the Plan about its

   treatment and use of FTCs.

          Plaintiffs argued that the absence of contractual language about FTCs actually

   helps them, not John Hancock. As teed up by Plaintiffs, if John Hancock had wanted to

   retain the FTCs to increase its revenue and profits, then it could have easily disclosed that

   fact to the Plans.

          Likewise, Plaintiffs argued, ERISA is designed to protect Plans when there is an

   ambiguity or an absence of language.

          Plaintiffs acknowledged that they would be in the same financial position had

   John Hancock not used the FTCs against its overall tax liability, but they argue that the

   relevant question is a different one: what would have happened if John Hancock had

   “lived up to its fiduciary obligations” (by paying the Plan the amount of the FTCS it used

   through a rebate or credit)?

   Analysis

                         Applicable Legal Standards – Summary Judgment

          Summary judgment must be entered against a party who fails to show a genuine

   issue as to a material fact, thus enabling a court to decide the case as a matter of law.


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   Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). “A genuine issue of material fact does

   not exist unless there is sufficient evidence favoring the nonmoving party for a reasonable

   jury to return a verdict in its favor.” Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir.

   1995) (citations omitted) (affirming summary judgment for the defendant). See generally

   Quintero v. Geico Marine Ins. Co., 983 F.3 1264 (11th Cir. 2020) (affirming summary

   judgment for the defendant).

          To obtain summary judgment, a defendant may either (1) produce evidence that

   refutes an essential element of the plaintiff’s claim or (2) “point[] out . . . that there is an

   absence of evidence to support the [plaintiff’s] case.” Celotex Corp., at 325, 331. The burden

   is on the non-moving party to come “forward with sufficient evidence on each element

   that must be proved.” Earley v. Champion Int’l Corp., 907 F.2d 1077, 1080 (11th Cir. 1990)

   (citation omitted) (affirming summary judgment for the defendant).

          Moreover, “the mere existence of a scintilla of evidence in support of the plaintiff’s

   position will be insufficient [to preclude summary judgment for the movant]; there must

   be evidence on which the jury could reasonably find for the plaintiff.” Anderson v. Liberty

   Lobby, Inc., 477 U.S. 242, 250 (1986).

          Consideration of a summary judgment motion does not lessen the burdens on the

   non-moving party: the non-moving party still bears the burden of coming forward with

   sufficient evidence on each element that must be proved. Rollins v. TechSouth, Inc., 833


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   F.2d 1525, 1528 (11th Cir. 1987). “[I]n ruling on a motion for summary judgment, the judge

   must view the evidence presented through the prism of the [movant's] substantive

   evidentiary burden.” Anderson, 477 U.S. at 254, 106 S. Ct. at 2513. The trial judge must

   bear in mind the “actual quantum and quality of proof necessary to support liability” in

   a given case. Id. “[I]f on any part of the prima facie case there would be insufficient

   evidence to require submission of the case to a jury, we must affirm the grant of summary

   judgment [for the defendant].” Barnes v. Southwest Forest Indus., Inc., 814 F.2d 607, 609

   (11th Cir. 1989).

          Where, as here, discovery has been conducted, “there is no issue for trial unless

   there is sufficient evidence favoring the non-moving party for a jury to return a verdict

   for that party. If the evidence is merely colorable, or is not significantly probative, summary

   judgment may be granted.” Anderson, 477 U.S. at 249–50, 106 S. Ct. at 2511 (citations

   omitted) (emphasis added)9; accord Hudson v. Southern Ductile Casting Corp., 849 F.2d 1372,

   1376 (11th Cir. 1988).




                  Is John Hancock A Relevant ERISA Fiduciary To The Plan?

          Both sides agree that the issue of whether John Hancock is a relevant ERISA



   9
         Earley v. Champion Intern. Corp., 907 F.2d 1077, 1080 (11th Cir. 1990) (adding
   emphasis to the “merely colorable” and “not significantly probative” language from
   Anderson in affirming a summary judgment for Defendant).
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   fiduciary to the Plan is a mixed question of fact and law. Cotton v. Massachusetts Mut. Life

   Ins. Co., 402 F.3d 1267, 1277 (11th Cir. 2005) (“The question whether a party is an ERISA

   fiduciary is a mixed question of law and fact.”); David P. Coldesina, D.D.S. v. Est. of Simper,

   407 F.3d 1126, 1131 (10th Cir. 2005) (“Whether a party is an ERISA fiduciary is a mixed

   question of fact and law.” (citing Hamilton v. Carell, 243 F.3d 992, 997 (6th Cir. 2001)). John

   Hancock further notes that the material facts underlying this mixed question are not

   genuinely in dispute, so summary judgment is available. See, e.g., Useden v. Acker, 947

   F.2d 1563 (11th Cir. 1991) (agreeing that material factual issues would not preclude

   summary judgment and affirming summary judgment for defendant in ERISA action

   because defendant bank was not a fiduciary).

            Under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), “. . . a person [or company] is a

   fiduciary with respect to a plan to the extent (i) he exercises any discretionary authority

   or discretionary control respecting management of such plan or exercises any authority

   or control respecting management or disposition of its assets, (ii) he renders investment

   advice for a fee or other compensation, direct or indirect, with respect to any moneys or

   other property of such plan, or has any authority or responsibility to do so, or (iii) he has

   any discretionary authority or discretionary responsibility in the administration of such

   plan.”

            Determining whether an individual or company is acting as a fiduciary is a


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   threshold consideration:

          In every case charging a breach of ERISA fiduciary duty, . . . the threshold
          question is not whether the actions of some person employed to provide
          services under a plan adversely affected a plan beneficiary’s interest, but
          whether that person was acting as a fiduciary (that is, was performing a
          fiduciary function) when taking the action subject to complaint.

   Pegram v. Herdrich, 530 U.S. 211, 226 (2000) (emphasis added).

          “[A] party is a fiduciary only ‘to the extent’ that it performs a fiduciary function.”

   Cotton, 402 F.3d at 1277. “[F]iduciary status under ERISA is not an ‘all-or-nothing

   concept,’ and ‘a court must ask whether a person is a fiduciary with respect to the

   particular activity at issue.’” Id. (citation omitted) (emphasis supplied); see also Srein v.

   Frankford Tr. Co., 323 F.3d 214, 220 (3d Cir. 2003) (concluding that trustee was a fiduciary

   with respect to one life insurance policy but not concerning another policy).

          Here, Plaintiffs complain that John Hancock “retained the benefit of [FTCs] and

   did not credit the Plan’s Separate Account or Participant Accounts in an amount equal to

   the value of the [FTCs] it retained.” Compl. ¶ 35. But FTCs had no intrinsic value to

   Plaintiffs’ Plan -- which is not a taxable entity that can apply FTCs. The only way in which

   FTCs have value to anyone here is by their application on John Hancock’s taxes, because

   John Hancock, the shareholder, is subject to U.S. taxes.

          The question, then, is whether John Hancock was an ERISA fiduciary (1) when it

   used FTCs for its own taxes or (2) concerning the elections made by funds selected by


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   Plaintiffs. It was not. Several reasons support this conclusion.

          First, John Hancock is not an ERISA fiduciary for preparing its taxes and using the

   FTCs available to it (but not to Plaintiffs). ERISA does not reach business functions that

   are conducted in capacities other than those relating to a retirement plan: a company is

   not a fiduciary when “conduct[ing] business that is not regulated by ERISA.” Lanfear v.

   Home Depot, Inc., 679 F.3d 1267, 1283 (11th Cir. 2012) (quoting Local Union 2134 v. Powhatan

   Fuel, Inc., 828 F.2d 710, 714 (11th Cir. 1987)); see also Barnes v. Lacy, 927 F.2d 539, 544 (11th

   Cir. 1991) (“[P]lan administrators assume fiduciary status only when and to the extent

   that they function in their capacity as plan administrators, not when they conduct

   business that is not regulated by ERISA.” (quotation marks omitted)).

          In Lanfear, the Court held that a company was not acting as an ERISA fiduciary

   when it filed documents with the U.S. Securities and Exchange Commission, even if those

   documents related to a fund used in its retirement plan. Id. at 1283. Specifically, the Court

   held that the defendants were acting in their corporate capacity, not as ERISA fiduciaries,

   when they engaged in those acts. Similarly, here, the only act that resulted in an alleged

   economic benefit -- John Hancock applying FTCs to its own corporate taxes -- was not

   conducted in an ERISA fiduciary capacity.

          The John Hancock U.S. Tax group prepares tax returns -- applying all applicable

   rules concerning income, deductions, credits and the like across the consolidated group


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   of companies -- under John Hancock Financial Corp., not with respect to any specific

   retirement plan serviced by isolated business lines of one of its component companies.

          Moreover, FTCs are uniquely creatures of the federal tax law. They may be applied

   by an insurance company subject to U.S. taxes if certain predicate conditions are satisfied,

   including, among others, that the taxpayer has sufficient net taxable income and foreign

   source income, and that the taxpayer paid (or incurred) the foreign tax to be credited (or

   deducted). See, e.g., I.R.C. §§ 901–09. The IRS specifically allows the application of FTCs

   by life insurance companies offering separate accounts for qualified retirement plans

   subject to certain limitations not at issue here. IRS P.L.R. 9528004 (March 29, 1995).10

          Thus, John Hancock simply is not an ERISA fiduciary for filing its tax returns.

          Second, Plaintiffs do not challenge John Hancock’s contention that every appellate

   court to address whether an insurance company is an ERISA fiduciary in a context such

   as the one here, arising from its administration of assets held in a separate account used

   as a conduit vehicle for funding qualified ERISA plans, has held that the insurer is not a

   relevant fiduciary. See Santomenno v. Transamerica Life Ins. Co., 883 F.3d 833, 840 (9th Cir.

   2018) (reversing order denying insurance company’s motion to dismiss and remanding



   10
          The Eleventh Circuit treats private letter rulings as “persuasive authority because
   they represent the views of the IRS, which is charged with administering the Tax Code.”
   McKenny v. United States, 973 F.3d 1291, 1300 n.6 (11th Cir. 2020) (internal marks and
   citations omitted). During the putative class period, John Hancock complied with the
   requirements set forth in IRS P.L.R. 9528004 (March 29, 1995).
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   with instructions to dismiss the complaint); McCaffree Fin. Corp. v. Principal Life Ins. Co.,

   811 F.3d 998, 1002 (8th Cir. 2016) (affirming order dismissing class action ERISA lawsuit

   against insurance company providing investment services); Santomenno v. John Hancock

   Life Ins. Co. (U.S.A.), 768 F.3d 284, 295–96 (3d Cir. 2014) (affirming order dismissing John

   Hancock because it was not a functional fiduciary); Leimkuehler v. Am. United Life Ins. Co.,

   713 F.3d 905, 913 (7th Cir. 2013) (affirming order granting summary judgment for service

   provider because its activities and omissions did not render the defendant a fiduciary).

          Third, these decisions are consistent with the Eleventh Circuit’s repeated holding

   that a service provider -- be it an insurer, third-party administrator or a bank-- is not an

   ERISA fiduciary absent actual control of a retirement plan’s assets. See Carolinas Elec.

   Workers Ret. Plan v. Zenith Am. Sols., Inc., 658 F. App’x 966, 970–71 (11th Cir. 2016)

   (affirming order dismissing ERISA lawsuit because of insufficient allegations that the

   defendant was a fiduciary); Cotton, 402 F.3d at 1277 (insurance company not an ERISA

   fiduciary); Useden, 947 F.2d at 1575–76 (11th Cir. 1991) (affirming order granting

   summary judgment for defendants in ERISA case because neither defendant was an

   ERISA fiduciary); Howard v. Parisian, Inc., 807 F.2d 1560, 1564 (11th Cir. 1987) (ERISA does

   not regulate the duties of non-fiduciary plan administrators).

          A financial institution is not an ERISA fiduciary when it acts only under “a pre-

   existing framework of policies, practices and procedures.” Chapman v. Klemick, 3 F.3d


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   1508, 1510 (11th Cir. 1993). Phrased differently, “an entity which assumes discretionary

   authority or control over plan assets will not be considered a fiduciary if that discretion

   is sufficiently limited by a pre-existing framework of policies, practices and procedures.”

   Useden, 947 F.2d at 1575 (citation omitted) (emphasis added).

          Therefore, to provide an illustration, an insurance company is not an ERISA

   fiduciary where “decisions to purchase, amend, and borrow against the policies were

   made by the plaintiffs themselves.” Cotton, 402 F.3d at 1279.

          In Leimkuehler, an insurance company provided services to retirement plans that

   used group annuity contracts and separate accounts as investment vehicles for 401(k)

   plans. 713 F.3d at 908. A plan trustee challenged attributes of mutual funds held in the

   separate accounts over which the insurer exercised no control, a fact which precluded

   fiduciary status. Id. at 914. Similarly, here, John Hancock had no control over which sub-

   accounts Plaintiffs selected; no control over Plan participants’ allocations to those sub-

   accounts; and no control over the mutual funds’ investments and tax elections.

          Separate accounts are simply “conduit” vehicles, which do not confer fiduciary

   status. Cottrill v. Sparrow, Johnson & Ursillo, Inc., 74 F.3d 20, 22 (1st Cir. 1996) (“[I]t is the

   driver, not the vehicle, that chooses the route.”).

          “The performance of administrative and ministerial tasks by a mere custodian of

   plan assets does not amount to practical control.” Edmonson v. Lincoln Nat’l Life Ins. Co.,


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   899 F. Supp. 2d 310, 323 (E.D. Pa. 2012) (citing cases), aff'd, 725 F.3d 406 (3d Cir. 2013).

   Similarly, John Hancock was not a fiduciary in administering the separate accounts on a

   fully-directed basis.

          Plaintiffs affirmatively argue in their opposition [ECF No. 267, p. 3] that John

   Hancock “qualifies as a fiduciary” under two prongs of ERISA: § 3(21)(A)(i), 29 U.S.C. §

   1002(21)(A)(i). By asserting this argument, Plaintiffs are, in effect, representing that John

   Hancock’s fiduciary status can, and should be, decided as a matter of law. To be sure, a

   heading in their opposition memorandum mentions some purported issues of material

   fact concerning John Hancock’s fiduciary status, but their actual argument focuses on

   only a legal dispute (and certainly does not represent that the Court is precluded from

   deciding the issue because a material factual dispute exists).

          Plaintiffs argue that John Hancock has the “authority or control respecting

   management or disposition of [plan] assets” sufficient to render it a fiduciary under the

   second prong of ERISA, § 3(21)(A)(i). To support this argument, Plaintiffs rely on the

   testimony of Keith Holden, who handles “the accounting and recordkeeping and

   transactions” and “administers . . . assets.” Mr. Holden is John Hancock’s vice president

   and head of retirement platform development and management for North America, and

   he had worked for John Hancock for 16 and a half years as of his July 21, 2021 deposition

   as a Rule 30(b)(6) representative.


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          Mr. Holden testified that John Hancock acts only “on the instructions of a plan or

   participant in executing [a] transaction.” These actions are ministerial activities, and they

   do not confer ERISA fiduciary status. Useden, 947 F.2d at 1575 (explaining that “an entity

   which assumes discretionary authority or control over plan assets will not be considered

   a fiduciary if that discretion is sufficiently limited by a pre-existing framework of policies,

   practices and procedures,” noting that clear standards circumscribed a bank’s discretion

   concerning the plan and holding that the bank was not a fiduciary “in light of this web of

   legal and contractual standards”).

          In their opposition, Plaintiffs try to distinguish Useden by pointing out that it

   involved a “pre-existing framework of policies, practices and procedures.”11 While true,

   that point is not persuasive because John Hancock’s role here was also cabined by policies,

   practices and procedures. Indeed, the framework managing the Plan’s assets is governed

   by the Contract, RKA and incorporated documents. John Hancock managed and

   disposed of the fund shares held in the separate accounts as Plaintiffs directed. Cf. Martin

   v. Feilen, 965 F.2d 660, 669 (8th Cir. 1992) (holding that accountants were fiduciaries,

   where they not only provided professional accounting services, but also recommended

   transactions, structured deals, and provided investment advice to such an extent that



   11
          The defendant bank’s exercise of its rights in Useden did not trigger the attachment
   of fiduciary duties because the bank, which had made a loan to the Plan, merely exercised
   remedies offered to creditors.
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   they exercised effective control over the plan's assets).

          To be sure, Plaintiffs argue that John Hancock should not have “used for itself”

   the FTCs. But FTCs are created by the Code and they could have been used only by the

   taxpayer -- John Hancock. At bottom, Plaintiffs are seeking to transform John Hancock

   into a fiduciary merely because it followed the contractual arrangement the parties

   reached. See, e.g., McCaffree Fin. Corp. v. Principal Life Ins. Co., 811 F.3d 998, 1002 (8th Cir.

   2016) (explaining that adherence to an agreement does not implicate any fiduciary duty

   and affirming order dismissing class action ERISA lawsuit against investment services

   provider because, among other reasons, provider did not owe any fiduciary duty).12

          Moreover, although Plaintiffs contend that John Hancock took steps to “extract”

   the FTCs, the Undersigned does not view this as an accurate description and deems the

   argument unconvincing.

          Plaintiffs selected the sub-accounts which were subject to foreign taxes, and they

   did so without John Hancock’s advice. John Hancock did not control whether, and to

   what extent, any participant invested in mutual funds, whether those funds elected to

   pass through foreign taxes or FTCs or whether the Code would allow John Hancock to

   apply FTCs. Therefore, it is illogical to conclude that John Hancock took affirmative steps



   12
           The McCaffree Court held that the only fees charged (i.e., the ones being disputed
   in the class action lawsuit) were authorized by the contract.

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   to “extract” FTCs when it was Plaintiffs, not John Hancock, who decided that the Plan

   would be responsible for foreign tax payments by selecting the funds at issue.

          The FTCs arose from Plaintiffs’ acts and choices, not from John Hancock’s

   supposed fiduciary functions. Just as in Santomenno v. Transamerica Life Ins. Co., 883 F.3d

   833, 840 (9th Cir. 2018); Carolinas Elec. Workers Ret. Plan v. Zenith Am. Sols., Inc., 658

   F.App’x 966, 970–71 (11th Cir. 2016)13; McCaffree Fin. Corp., 811 F.3d at 1002; Santomenno

   v. John Hancock, 768 F.3d 284, 295–96 (3d Cir. 2014)14; and Leimkuehler 713 F.3d at 913 (7th

   Cir. 2013), John Hancock is not a fiduciary for Plaintiffs’ choices.

          Plaintiffs admit that they selected the funds, some of which were subject to foreign

   taxes. This inescapable factual reality renders their arguments about fiduciary status



   13
          In Carolinas, the Court noted that a third-party administrator who performs purely
   ministerial functions, such as calculating benefits, maintaining participant records and
   communicating with participants is not a fiduciary. The Court held that the defendant,
   which recommended a change (to convert a plan’s assets from a cash-based accounting
   method to an accrual method), was not a fiduciary because it lacked discretionary
   authority to make the change on its own. Moreover, it held that other activities --
   recalculating benefits based on the trustee’s decision to change accounting methods,
   reconciling accounts and sending notices to participants -- were purely ministerial
   functions.

   14
          John Hancock’s lead counsel in the instant case also represented John Hancock in
   Santomenno, where the appellate court affirmed an order granting a motion to dismiss an
   ERISA lawsuit because John Hancock was not a fiduciary concerning the particular acts
   in question. In that case, the Secretary of Labor filed an amicus brief in support of the
   plaintiff participants, urging reversal. As noted, however, the appellate court affirmed
   the dismissal order.

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   unconvincing. See generally, in re Fidelity ERISA Fee Litig., 990 F.3d 50, 56–57 (1st Cir. 2021)

   (affirming dismissal where plans and participants chose the funds that paid the

   challenged fees).15

          In addition, the factual record here is not one where a defendant acted contrary to

   directions it received. Therefore, those cases (i.e., where a defendant did violate

   instructions) Plaintiffs rely on to support their fiduciary status theory are inapplicable.

   Chao v. Day, 436 F.3d 234, 237–38 (D.C. Cir. 2006) (not purchasing insurance premiums as

   directed); David P. Coldesine, D.D.S. v. Estate of Simper, 407 F.3d 1126, 1134 (10th Cir. 2005)

   (not writing checks as directed); Srien v. Frankford Trust Co., 323 F.3d 214, 221–22 (3d Cir.




   15
          In In re: Fidelity, the appellate court held that a financial services company did not
   act as a fiduciary by determining which mutual funds it included or removed from the
   investment platform offered to the plans. In addition, it held that the defendant did not
   act as a functional fiduciary by charging mutual funds for inclusion on the investment
   platform offered to the plans. The court’s explanation provides guidance:

        [t]he fund would only be listed by Fidelity as an available option on the
        FundsNetwork. It would remain for the plan's fiduciary investment advisors to
        decide whether to make the fund available to that plan's participants. In other
        words, even if Fidelity puts the fund on FundsNetwork (sometimes called its
        “Big Menu”), a plan must select that fund for its “Small Menu” before it becomes
        a permissible investment option for the plan's participants. And it would
        ultimately be up to the participants to decide whether to invest in the fund.
        Only then would the theoretical pass-through of infrastructure fees posited by
        the plaintiffs occur.

   990 F.3d at 57 (emphasis added).

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   2003) (not placing insurance proceeds in plan’s account as directed); LoPresti v. Terwilliger,

   126 F.3d 34, 40 (2d Cir. 1997) (signing checks to pay corporate creditors rather than the

   plans, as required); IT Corp. v. Gen. Am. Life Ins. Co., 107 F.3d 1415, 1418 (9th Cir. 1997)

   (paying benefits “in violation of the terms of the plan”); Int’l Painters & Allied Trades Indus.

   Pension Fund v. Aragones, 643 F. Supp. 2d 1329, 1333 (M.D. Fla. 2008) (the defendant

   retained checks even after being informed by plan that she must return them).16

          Fourth, the parties’ agreements themselves confirm that John Hancock was not a

   fiduciary for the activities at issue in this lawsuit (i.e., using FTCs which did not belong

   to Plaintiffs and which Plaintiffs could not have used).

          Plaintiffs argue that John Hancock is a fiduciary for FTCs because the RKA states:

          To the extent John Hancock maintains a separate account(s) in which the
          [P]lan invests, John Hancock is a limited fiduciary for the exclusive
          purposes of holding plan assets in its separate account(s), voting proxies,
          and acting only in accordance with directions from trustee(s), participants
          and beneficiaries . . . .

   [ECF No. 267, pp. 4–7 (relying on RKA)].



   16
          In Briscoe v. Fine, 444 F.3d 478, 492 (6th Cir. 2006), the defendant was a fiduciary
   for exercising control of plan assets after the contractual relationship ended -- which, by
   definition, was unauthorized.

         Likewise, in Leimkuehler, the insurer could be a fiduciary if it “mismanaged the
   separate account -- say, by losing track of participants’ contributions or withdrawing
   funds . . . to pay for a company-wide vacation to Las Vegas.” 713 F.3d at 913 (emphasis
   added). Yet Plaintiffs offer no facts that John Hancock withdrew and converted funds
   from any separate account.
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          This does not confer fiduciary status on John Hancock for its taxes for multiple

   reasons.

          “A person should not be attributed fiduciary status under ERISA and held

   accountable for performance of the strict responsibilities required of him in that role, if

   he is not clearly aware of his status as a fiduciary. . . .” ITPE Pension Fund v. Hall, 334 F.3d

   1011, 1015 (11th Cir. 2003) (citation omitted). Here, the Contract specifically provided that

   John Hancock did not assume fiduciary responsibility over separate account investments.

   The Contract specified that John Hancock was not assuming “any fiduciary

   responsibility,” and the RKA reiterated that it “will not have any discretionary

   authority or responsibility for the management or control of the separate accounts.”

   (emphasis added).

          The one, narrow fiduciary role which John Hancock acknowledged as to the

   separate accounts is not implicated here. John Hancock agreed that, “[t]o the extent John

   Hancock maintains a separate account(s) in which the plan invests, John Hancock is a

   limited fiduciary for the exclusive purposes of holding plan assets in its separate

   account(s), voting proxies, and acting only in accordance with directions from trustee(s),

   participants and beneficiaries, as provided in this agreement. . . .” Id. (emphasis added).

   Plaintiffs do not challenge John Hancock’s conduct in proxy voting, nor do they assert

   that John Hancock failed to hold assets or that it disregarded directions.


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          Plaintiffs’ focus on the quoted language from the RKA overlooks the principle that

   the Court does not interpret contractual language in isolation. Instead, “Courts construe

   ERISA plans, as they do other contracts[,]” using “[o]rdinary contract interpretation

   principles.” U.S. Airways, Inc. v. McCutchen, 569 U.S. 88, 102 (2013).

          In effect, Plaintiffs ask the Court to ignore the remaining language in the RKA and

   the Contract, arguing that it “does ‘not override[] . . . functional status as a fiduciary.’”

   [ECF No. 267, p. 10] (citation omitted). That is not persuasive. The “limited fiduciary”

   status John Hancock contracted for must be read in context of its entire agreement,

   including that it “will not have any discretionary authority or responsibility for the

   management or control of the separate accounts.” Plaintiffs’ theory that John Hancock is

   a fiduciary for funds it holds, but did not select, would create expansive liability— e.g.,

   including liability for fund performance, which “arise[s] from the separate accounts.”

   John Hancock argues [ECF No. 278, p. 5] that this “well exceeds the bargained-for scope,”

   and the Undersigned agrees.

          Even if the Court accepted Plaintiffs’ invitation to ignore the entirety of the RKA

   and Contract except for the isolated provision they cite (which it should not), the RKA

   still does not create fiduciary status for John Hancock’s taxes. Holding plan assets in a




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   separate account and owning mutual fund shares (even shares that may be plan assets17),

   are two separate things. Plaintiffs admit that John Hancock owns the mutual fund shares

   in its separate accounts.18 Anyone can hold something that she does not own; a

   custodian’s role is to hold assets it does not own. John Hancock’s application of FTCs

   comes not from any act it takes in holding and disposing mutual fund shares, but from

   owning the shares.

          “[A] person may be an ERISA fiduciary with respect to certain matters but not

   others, for he has that status only ‘to the extent’ that he has or exercises the described

   authority or responsibility.” Harris Trust and Sav. Bank v. John Hancock Mut. Life Ins. Co.,

   302 F.3d 18, 28 (2d Cir. 2002) (citing F.H. Krear & Co. v. Nineteen Named Trustees, 810 F.2d

   1250, 1259 (2d Cir. 1987); and also citing Siskind v. Sperry Ret. Program, Unisys., 47 F.3d

   498, 505 (2d Cir. 1995) (“[O]nly when fulfilling certain defined functions, including the

   exercise of discretionary authority or control over plan management or administration,”




   17
         John Hancock has not disputed that the Plan holds an interest in the separate
   accounts under 29 C.F.R. § 2510.3-101(h)(1)(iii). Plaintiffs purport to rely on 29 C.F.R. §
   2550.401c-1(d)(2), but they have not adequately explained how that language expands
   John Hancock’s limited fiduciary status for holding those assets or how it overrides other
   contractual language specifying that it is not a fiduciary.

   18
          Plaintiffs dispute John Hancock’s statement [ECF No. 256, ¶ 33,] which asserts that
   “John Hancock ‘owns the assets held in the’” separate accounts. Yet they later concede,
   in part, that “[John] Hancock ultimately owns the assets in separate accounts.” [ECF No.
   266,¶ 99] (emphasis supplied). Ownership is therefore not genuinely disputed.
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   does a person become a fiduciary under ERISA)).

          To summarize, John Hancock was not a relevant fiduciary as to the mutual funds

   in its separate accounts, which it held exactly as instructed. See, e.g., Santomenno, 883 F.3d

   at 840; Santomenno, 768 F.3d at 295-96; Leimkuehler, 713 F.3d at 912-913 (noting that

   Leimkuehler was “free to seek a better deal with a different 401(k) service provider if he

   felt that [the defendant’s] investment options were too expensive”); Srein, 323 F.3d at 221–

   23. By using the FTCs in years when they could be used, John Hancock did not breach a

   non-existent fiduciary duty.19 In re Fidelity ERISA Fee Litigation, 990 F.3d at 59 (“Fidelity

   does have some fiduciary duties vis-à-vis the plans and their participants” but the “point




   19
          Plaintiffs argue that John Hancock exercised discretionary authority or control
   over management of the Plan, and they rely on Charters v. John Hancock, where the Court
   dismissed one of Plaintiffs’ arguments, ruling that mere holding of assets in separate
   accounts was “unlikely” to make John Hancock a fiduciary. 583 F. Supp.2d 189, 197 (D.
   Mass. 2008). The Charters Court held that John Hancock was a fiduciary to the extent it
   retained the unilateral right to increase its fees, which is different from the facts here,
   where there is no dispute over the fee John Hancock actually charged. Id. at 197–98 (citing
   F.H. Krear & Co. v. Nineteen Named Trs., 810 F.2d 1250 (2d Cir. 1987)). Other courts have
   rejected Charters. See, e.g., Santomenno, 768 F.3d 284, 295 n.6 (finding it “unavailing”);
   McCaffree, 65 F. Supp. 3d 653, 671–72 (S.D. Iowa 2014) (granting motion to dismiss filed
   by investment services provider because it was not functioning as a fiduciary).

          Plaintiffs also cite to Harris Trust v. John Hancock, 302 F.3d 18 (2d Cir. 2002). which
   actually supports John Hancock (who also cited it). The Court held that John Hancock
   had no fiduciary duty to provide extracontractual funds: it “did not breach its fiduciary
   duties by adhering to the bargained-for terms of the [c]ontract.” Harris Trust, 302 F.3d
   at 30 (emphasis supplied). It was a fiduciary only where it made actual discretionary
   investments for the plan at issue, id. at 31, which is not the case here.
                                                   57
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   is that Fidelity's actions in a fiduciary capacity are not the subject of plaintiffs'

   complaint.”) (emphasis added).




                                      Are The FTCs Plan Assets?

          Plaintiffs allege that John Hancock “is also a fiduciary as to Plan Foreign Tax

   Credits specifically.” Compl. ¶ 42. But John Hancock argues that FTCs are not “plan

   assets,” as that term is used in ERISA § 3(21)(A)(i).

          In their Reply, Plaintiffs say that the issue of whether FTCs themselves constitute

   plan assets is a disputed issue, but they also contend the issue is “not material at this

   stage” and does not need to be resolved for summary judgment purposes. Moreover,

   Plaintiffs say that their claims do not depend on FTCs being deemed plan assets.

          On the other hand, Plaintiffs also take the position [ECF No. 267, p. 11] that

   “[n]onetheless, the summary judgment evidence establishes that, contrary to [John]

   Hancock’s claims, FTCs are, in fact, ERISA plan assets.” And that certainly sounds like

   an issue which can be decided, one way or the other, in a summary judgment setting.

          But whether something is a plan asset is a question which has been determined to

   be a matter of law. See, e.g., Pantoja v. Edward Sengel & Song Exp., Inc., 500 F. App’x 892,

   893 (11th Cir. 2012) (affirming district court’s summary judgment ruling that unpaid

   fringe benefit contributions were not “plan assets” within the meaning of ERISA as a


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   matter of law); cf. Trustees of Michigan Regional Council of Carpenters’ Emp. Benefits Fund v.

   H.B. Stubbs Co., 33 F. Supp. 3d 884 (E.D. Mich. 2014) (reviewing case law authority and

   concluding as a matter of law, in granting the defendants’ motion to dismiss, that unpaid

   employer contributions were not plan assets).

          As both sides recognize, there are two approaches used to determine whether

   something is a plan asset, a concept which ERISA does not specifically define. See Acosta

   v. Pac. Enterprises, 950 F.2d 611, 620 (9th Cir. 1991) (“ERISA does not expressly define the

   term ‘assets of the plan.’”).

          Moreover, both sides agree that the Eleventh Circuit has not selected a particular

   approach (or used a different approach).

          But the mere fact that our appellate court has not decided the question does not

   immunize the argument from a summary judgment analysis. It merely means that the

   Undersigned needs to select an approach.

          One approach, which the Department of Labor (“DOL”) endorses, identifies plan

   assets “on the basis of ordinary notions of property rights under non-ERISA law.” U.S.

   Dept. of Labor, Advisory Op. No. 93–14A, 1993 WL 188473, at *4 (May 5, 1993). A number of

   circuit courts have also adopted this approach, which is the majority approach. See, e.g.,

   Tussey v. ABB, Inc., 746 F.3d 327, 339 (8th Cir. 2014) (using DOL-endorsed definition and

   holding that participants failed to show the float was a Plan asset, which means the


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   district court erred in finding Fidelity breached a fiduciary duty of loyalty by paying the

   expenses on the float accounts and distributing the remaining float to the investment

   options)20; see also Faber v. Metro. Life Ins. Co., 648 F.3d 98, 105-106 (2d Cir. 2011)

   (explaining that ERISA’s “limited definition” of “plan assets” is not “helpful” and noting

   that the DOL, the agency “charged with administering and enforcing Title 1 of ERISA,

   has “repeatedly advised” that “plan assets should be identified based on ‘ordinary

   notions of property rights’”).21

          This DOL-definition includes “any property, tangible or intangible, in which the

   plan has a beneficial ownership interest.” Id. In addition, it includes “any contributions

   to the Policy Trust, any earnings on the contributions, the Group Policy itself, any

   reserves under the Group Policy, and any retrospective rate credits declared under the

   Group Policy.” Id.

          The second approach, which is the minority view, to identifying plan assets



   20
           Although Plaintiffs cited Tussey, the Tussey Court explained that “absent proof of
   any ownership rights to the funds in the redemption account, the Plan had no right to
   float income from that account.” Id. at 340. John Hancock cited it, as well.

   21
          The Faber Court described the DOL view as “persuasive” and used that approach
   to hold that MetLife’s “retained assets” were not “plan assets” because “the [p]lans did
   not have an ownership interest – beneficial or otherwise – in them.” Id. at 106. The Court
   affirmed an Order dismissing the ERISA claim because MetLife did not retain plan assets
   by holding funds backing the Total Control Account, which is an interest-bearing account
   backed by funds that the insurer retains until the account holder writes a check or draft
   against the account.
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   considers “whether the item in question may be used to the benefit (financial or

   otherwise) of the fiduciary at the expense of plan participants or beneficiaries.” Patelco

   Credit Union v. Sahni, 262 F.3d 897, 908 (9th Cir. 2001) (internal quotation marks omitted).

          Here, using the first approach, FTCs are not assets that can be owned by plans

   under ordinary notions of property law. FTCs are attributes of U.S. tax law, unique to the

   taxpayer to whom the Code specifically allows the credit. See, e.g., I.R.C. §§ 901–09. Not

   only do FTCs belong as a matter of tax law only to the taxpayer who owns and is taxed

   on the mutual fund shares (i.e., John Hancock), but they are also one of many tax

   attributes, positive and negative, that impact John Hancock’s taxes.

          FTCs are not “passed through” to John Hancock, as Plaintiffs allege in paragraph

   34 of their Complaint. Instead, the special election made by mutual funds is one that

   requires John Hancock to increase its taxable income and treat as paid by it the foreign

   taxes paid by the mutual funds selected by the Plan and its participants.

          While treating such taxes as paid by John Hancock results in John Hancock

   potentially qualifying for an FTC, any resulting FTC is an attribute taken into account in

   the computation of John Hancock’s federal tax liability -- an inalienable, nontransferable

   tax attribute specific to John Hancock. It is not analogous to an asset subject to ordinary

   notions of property rights, much less an ERISA plan asset of a retirement plan that is not

   entitled to such tax credit.


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          Using the second, minority approach (which the Undersigned is not adopting as

   applicable law; I am merely discussing it in the alternative while selecting the DOL

   approach), John Hancock’s use of FTCs is not at the expense of Plan participants because

   the Plan is not entitled to, and could not use, the FTCs given that the Plan has tax-exempt

   status. The FTCs are not available under the Code “at the expense” of Plan participants,

   who are in the same position regardless of how John Hancock files its tax return.

          To be sure, Plaintiffs are correct when they argue that John Hancock “can” rebate

   a portion of its fee to serve as a substitute for the FTCs (which Plaintiffs could not have

   used themselves anyway), but that possibility does not create liability.

          The FTCs do not transform themselves into Plan assets merely because John

   Hancock could have paid Plaintiffs an amount equivalent to the FTCs. Cf. Harris Trust, 302

   F.3d at 27 (reversing in part trial court judgment awarding damages of almost $85 million

   against John Hancock in ERISA lawsuit and explaining that “[o]f course, [John] Hancock

   could choose to waive the contractual requirement, just as could any party to any

   contract, but that cannot mean that [John] Hancock had an obligation to do so”) (emphasis

   in italics by the Court; bold emphasis added by the Undersigned); see generally Hecker v.

   Deere & Co., 556 F.3d 575, 584 (7th Cir. 2009) (“Once the fees are collected from the mutual

   fund’s assets and transferred to one of the Fidelity entities, they become Fidelity’s assets




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   – again, not the assets of the Plans.”).22

          The Undersigned concludes, as a matter of law, that the FTCs are not plan assets

   and that this determination can properly be made in the summary judgment context. See

   generally Edmonson v. Lincoln Nat. Life Ins. Co., 725 F.3d 406, 429 (3d Cir. 2013) (affirming

   summary judgment ruling for defense in ERISA putative class action lawsuit alleging

   breach of fiduciary duty of loyalty and seeking disgorgement of profit the insurer earned

   by investing the benefits owed to her -- and concluding that “the retained assets were not

   plan assets” because, once the insurance company set up a SecureLine Account, “the plan

   no longer had an interest in the assets and, under ordinary notions of property rights,

   Lincoln and Edmonson were in a creditor-debtor relationship”) (emphasis added)).

          The Undersigned deems Edmonson particularly illuminating, so I will discuss it

   here in some detail.

          The SecureLine Account at issue in Edmonson was a retained asset account,

   established after the plaintiff’s husband, who was insured under a group life insurance




   22
          In Hecker, the appellate court affirmed an order dismissing a putative class action
   lawsuit against an employer, trustee and investment advisor. The appellate court
   explained that “[b]efore we delve into the question of whether any of the Defendants
   breached a fiduciary duty, we must identify who owed such duties to Plaintiffs with
   respect to the actions at issue here.” Id. The Court held that the trustee and investment
   advisor were not functional fiduciaries of the plan, noting that merely playing a role in
   the selection of investment options does not transform a company into a fiduciary. John
   Hancock’s lead counsel in the instant case represented Defendants in Hecker.
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   policy issued by Lincoln, died. The plaintiff was entitled to $10,000 in benefits. The policy

   did not state that Lincoln would pay the benefits using a retained asset account and did

   not otherwise specify how Lincoln was to pay the plaintiff the benefits. In other words, it

   was silent about this issue of payment. After Lincoln approved the plaintiff’s claim for

   the $10,000 death benefit, it sent her a checkbook from which she could draw checks on

   the SecureLine Account. Lincoln explained that the plaintiff would receive interest on the

   account in the amount of the Bloomberg national average rate for interest-bearing

   checking accounts, plus 1%.

          Significantly, Lincoln did not deposit any funds into the account. Instead, it merely

   credited the account with the benefit. When a beneficiary like the plaintiff would write a

   check on the account, Lincoln would transfer funds into the account to cover the check.

   Until that time, however, Lincoln retained the money owed to a beneficiary like the

   plaintiff and could invest the retained assets for its own profit.

          Three months after Lincoln established the SecureLine account, Edmonson

   withdrew the full amount of the insurance proceeds. Lincoln also wrote her a check for

   $52.33 of interest. Edmondson contended that the profit Lincoln earned from investing

   the retained assets was greater than the amount of interest paid to her, and that Lincoln

   made approximately $5 million in profit in one year alone by investing retained assets

   credited to her account and the accounts of other beneficiaries.


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          Edmondson brought an ERISA lawsuit, contending, among other claims, that

   Lincoln violated its fiduciary duties by investing the retained assets for its own profit.

   The appellate court concluded that the assets were not plan assets because, “[a]lthough

   Lincoln used the assets for its own benefit, it did not use ‘them at the expense of plan

   participants or beneficiaries.’” Therefore, given that the retained assets were not plan

   assets, Lincoln’s conduct “was not constrained by ERISA’s duty of loyalty.” Id. at 429.

          Some of the basic principles at issue in Edmonson are implicated here. Lincoln used

   the plaintiff’s retained asset balance to earn interest; John Hancock used the FTCs created

   as a result of Plaintiffs’ investments to lower its tax exposure. Lincoln did not violate an

   ERISA duty of loyalty by earning interest for itself because plan assets were not involved;

   John Hancock did not violate that same duty because FTCs are not plan assets. The

   insurance company was permitted to make a profit; John Hancock is permitted to use the

   FTCs to its financial advantage. The actions taken by the insurance company were not an

   ERISA act; John Hancock’s use of the FTCs was not an ERISA act either.

          The Court agrees with John Hancock that, similar to the retained assets in

   Edmondson, the FTCs are not plan assets.

                   Did John Hancock Breach ERISA By Acting Disloyally?

          Because John Hancock was not an ERISA fiduciary to the Plan and because the

   FTCs are not plan assets, the Court could end its analysis here and grant summary


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   judgment to John Hancock. However, in an abundance of caution, the Undersigned will

   also evaluate the claims that John Hancock was in breach for allegedly acting disloyally

   and for engaging in a prohibited transaction. The Undersigned will first analyze the claim

   that John Hancock violated the duty of loyalty.

          Plaintiffs allege a breach of the duty of loyalty -- i.e., a breach of ERISA §

   404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A).

          The duty of loyalty is analyzed under “a subjective standard; what matters is why

   the defendant acted as he did.” In re Wells Fargo ERISA 401(k) Litig., 331 F. Supp.3d 868,

   875 (D. Minn. 2018) (emphasis in original), aff’d sub nom. Allen v. Wells Fargo & Co., 967

   F.3d 767 (8th Cir. 2020). Plaintiffs must show that John Hancock “[was] motivated by

   disloyal reasons.” Allen, 967 F.3d at 776. It is not enough to show that a defendant

   obtained some benefit: “ERISA section 404(a) does not require a fiduciary to don the

   commercial equivalent of sackcloth and ashes.” Vander Luitgaren v. Sun Life Assur. Co. of

   Canada, 765 F.3d 59, 65 (1st Cir. 2014) (citing Edmonson and affirming summary judgment

   against claims administrator in ERISA lawsuit alleging breaches of fiduciary duties).

          Where “a fiduciary takes action that arguably benefits both plan and non-plan

   interests, courts have held that some incidental benefit to other interests is permissible

   under the statute as long as the primary purpose and effect of the action is to benefit the

   plan.” Dupree v. Prudential Ins. Co. of Am., No. 99-8337-CIV.-JORDAN, 2007 WL 2263892,


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   at *45 (S.D. Fla. Aug. 10, 2007). As the First Circuit explained, there is no breach of duty

   where participants received the promised plan benefit and a fiduciary’s action -- even

   one that benefits a fiduciary -- “does not unfairly diminish, impair, restrict, or burden the

   beneficiary’s rights. . . .” Vander Luitgaren, 765 F.3d at 65.

          These principles apply here even if John Hancock were held to be a fiduciary,

   which the Undersigned has already held it is not. There is no record evidence that John

   Hancock had a subjectively disloyal intent when it complied with U.S. tax law and the

   Contract and RKA. The Undersigned agrees with John Hancock’s position that the

   undisputed record evidence demonstrates that the Plan obtained precisely what Plaintiffs

   bargained for -- John Hancock’s recordkeeping services at an agreed-upon price, and the

   opportunity to invest through its platform in sub-accounts holding pre-specified mutual

   funds, with withdrawals at the NAV of mutual funds.

          John Hancock’s tax positions did not “diminish, impair, restrict, or burden” those

   rights because there “is no way” for a plan “to offset . . . foreign tax payments by using

   the [FTC];” Vander Luitgaren, 765 F.3d at 65; accord Marshall v. Northrop Grumman Corp.,

   No. 2:16-06794, 2019 WL 4058583, at *11–12 (C.D. Cal. Aug. 14, 2019) (granting summary

   judgment on loyalty claim).

          Nothing in the Contract changes this result. Contrary to Plaintiffs’ allegations

   (Compl. ¶ 38), John Hancock did not promise to credit the Plan the amounts of any FTCs


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   that it applied. The Contract described only three types of revenue related to the separate

   accounts: (i) direct fees; (ii) “revenue sharing . . . paid” by the mutual funds; and (iii)

   credits from John Hancock related to “investment management fees paid” to John

   Hancock affiliates. Such amounts are used to offset recordkeeping costs.

          FTCs are none of these. They are not direct fees and are not related to investment

   management fees. And the SIG explains that revenue sharing paid by mutual funds are

   those payments made “pursuant to agreements or arrangements between John Hancock

   and the underlying fund and/or their affiliates.” In contrast, FTCs are not payments and

   they are not “receive[d] from the mutual funds.” Instead, they are tax attributes created

   by Congress. Additionally, Plaintiffs have identified no agreements between any mutual

   fund and John Hancock relating to foreign taxes or FTCs.

          At its core, and as John Hancock correctly points out, Plaintiffs do not actually seek

   the FTCs themselves -- because their Plan cannot use FTCs. Instead, Plaintiffs seek to have

   John Hancock “reduce[]” “the expenses and fees under the Contract . . . by the amount of

   the” FTCs John Hancock applies. Compl. ¶ 62. This would mean John Hancock giving

   the Plan money, or waiving other fees or expenses.

          Therefore, to effectuate any “rebate,” as Securian claims to do, John Hancock

   would have to pay the amount from its own account, which is not something the parties

   negotiated for John Hancock to do. For all practical purposes, Plaintiffs are seeking


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   nothing more than to have John Hancock reduce its fees, which is not required under the

   Contract. Nor would such a rebate be necessary under ERISA to “defray[] reasonable

   expenses of administering the plan” as described in ERISA § 404(a)(1)(A): the record

   evidence is that John Hancock’s recordkeeping fees were reasonable in 2014 without any

   additional credits.

          Plaintiffs’ cases all involve a fact-pattern that is not present here: a defendant

   taking affirmative, discretionary actions with respect to a plan, such as a decision for a

   plan to purchase stock involved in a tender offer, Donovan v. Bierwirth, 680 F.2d 263, 264

   (2d Cir. 1982); investing a plan in funds advised by the fiduciary’s affiliates or business

   partners, Dupree v. Prudential Ins. Co. of Am., No. 99-8337-cv-Jordan, 2007 WL 2263892, at

   *36 (S.D. Fla. Aug. 7, 2007), and Pledger v. Reliance Tr. Co., No. 1:15-CV-4444-MHC, 2019

   WL 10886802, at *19 (N.D. Ga. Mar. 28, 2019); investing a plan in stock of a company in

   which the defendant had a substantial interest, Hugler v. Byrnes, 247 F. Supp. 3d 223, 228

   (N.D.N.Y. Mar. 28, 2017); and paying itself or other plans, rather than paying claims of

   the plan that provided the funds, Guyan Int’l, Inc. v. Pro. Benefits Adm’rs, Inc., 689 F.3d 796,

   97 (6th Cir. 2012).

          Here, by contrast, Plaintiffs point to no affirmative, discretionary step that John

   Hancock took with Plan assets that was contrary to their directions -- the separate

   accounts were invested precisely as Plaintiffs directed.


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          John Hancock’s actions did not deprive the Plan of any contractually-required

   benefit. Plaintiffs have not demonstrated that John Hancock was somehow required to

   copy the contractual arrangements offered by Securian, the only recordkeeper identified

   in the records to provide rebates for FTCs.

          Accordingly, the Court agrees that John Hancock’s summary judgment motion

   should be granted as to Count I for the independent reason that there was no breach of

   the duty of loyalty.

                    Did John Hancock Engage in A Prohibited Transaction?

          ERISA § 406(b)(1) prohibits a plan fiduciary from “deal[ing] with the assets of the

   plan in his own interest or for his own account.” 29 U.S.C. § 1106(b)(1). ERISA § 406(b)(3)

   prevents a fiduciary from “receiv[ing] any consideration for his own personal account

   from any party dealing with such plan in connection with a transaction involving the

   assets of the plan.” 29 U.S.C. § 1106(b)(3). The Eleventh Circuit has long cautioned that

   “Congress did not intend an expansive interpretation of section 1106. . . .” Evans v. Bexley,

   750 F.2d 1498, 1500 n.3 (11th Cir. 1985). Here, Plaintiffs’ claims do not fit within the actual

   (non-expansive) limits of ERISA §§ 406(b)(1) and (b)(3).

          By their terms, both ERISA §§ 406(b)(1) and (b)(3) require involvement of “assets

   of the plan.” See generally Dupree, 2007 WL 2263892, at *42 (§ 406(b)(1) prohibits a

   “fiduciary from dealing with assets of the plan in his own interest or for his own


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   account”); McGarry v. E. Air Lines, Inc., No. 86–2497–Civ-Ryskamp, 1987 WL 13900, at *6

   (S.D. Fla. July 6, 1987) (§ 406 applies only when dealing with assets of the plan).

          As analyzed above, FTCs are not ERISA plan assets.

          An ERISA § 406(b)(3) violation further requires the defendant to “receive any

   consideration” from a “party dealing with” the Plan “in connection with a transaction”

   involving plan assets. 29 U.S.C. § 1106(b)(3); see generally Lowen v. Tower Asset Mgmt., Inc.,

   829 F.2d 1209, 1213–18 (2d Cir. 1987). That is not present here.

          John Hancock’s consolidated U.S. tax filings are not a transaction under ERISA

   involving plan assets. Further, while Plaintiffs allege that John Hancock received FTCs

   from third parties dealing with the Plan (Compl. ¶ 70), the Code (not any party) provides

   the FTCs; mutual funds whose shares are held in sub-accounts that Plaintiffs have

   selected for their Plan merely make an election under the Code that requires John

   Hancock to report its share of foreign taxes paid by the mutual funds as income on its

   own tax return. The Code, in turn, allows John Hancock to claim a related deduction or

   credit subject to certain limitations. Nothing more.

          This is not a “transaction” involving the Plan or a “party dealing with such plan”

   within the meaning of § 406. See Phillips v. Amoco Oil Co., 799 F.2d 1464, 1472 (11th Cir.

   1986) (affirming summary judgment for defendant and holding that ERISA § 1106

   “applies only to transactions to which the plan itself is a party or in which the monies,


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   property or fiscal assets of the plan are involved”) (emphasis supplied)). In Phillips, the

   Eleventh Circuit held that when a defendant “is not administering the plan or investing

   its assets,” it may act in its own interest and neither ERISA §§ 404 or 406 are implicated –

   which is what John Hancock did here when filing its taxes. 799 F.2d at 1471–72.

          Even if John Hancock was a fiduciary for its taxes or the FTCs (which it is not),

   John Hancock took no active steps to be entitled to FTCs, it merely applied the provisions

   set forth in the Code that resulted from the decisions and actions and choices taken by

   others. This is significant because cases addressing both §§ 406(b)(1) and (b)(3) find

   liability only where a defendant took active steps directed to plan assets that benefitted

   itself. See, e.g., Sec’y, Dep't of Lab. v. Seibert, 464 F. App’x 820, 822 (11th Cir. 2012) (trustee

   violated § 406(b)(1) by admitting, in his plea agreement, to siphoning money from the

   plan as loans for companies he owned); Lowen, 829 F.2d at 1214 (fiduciary exchanged

   favorable investment recommendations for personal gain and pursuant to which he

   received consideration from party dealing with plan in violation of § 406(b)(3)); Chao v.

   Baugh, No. 07-80450-CIV, 2008 WL 11409999, at *3–5 (S.D. Fla. July 8, 2008) (defendant

   utilized participant contributions to pay obligations of the company in violation of §

   406(b)(1)).

          Here, by contrast, the FTCs at issue flowed exclusively from the actions of others-

   -Plaintiffs’ choice of selecting certain sub-accounts as Plan options, the Plan participants’


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   allocation among those options, and decisions of the mutual funds held in those sub-

   accounts to require John Hancock to gross up its income by the foreign taxes paid by such

   mutual funds.

          John Hancock did not retain any money in contravention of any Plan term or

   contractual obligation, nor did it control the selection of, and investment in, funds.

          Thus, John Hancock did not engage in a prohibited transaction.23

                          Have Plaintiffs Established Loss Causation?

          John Hancock contends that Plaintiffs have not shown, and cannot show, any loss

   or injury in fact. It argues that Plaintiffs (1) have not established loss causation and (2)




   23
          Plaintiffs rely on Haddock v. Nationwide Fin. Servs., Inc., 419 F. Supp. 2d 156, 171 (D.
   Conn. 2006). The Haddock Court explained that if a participant makes a decision resulting
   in payments to an insurer (such as selecting insurance and paying premiums), then there
   would be no § 406(b) violation because the insurer did not exercise fiduciary authority to
   secure compensation. Id. at 169.

          It is undisputed that Plaintiffs (not John Hancock) selected the Plan’s funds,
   including those paying foreign taxes. But for their selection of those funds, and Plan
   participants’ decisions to invest in those funds, there would be no FTCs. John Hancock
   did not decide that. Plaintiffs offer no cases holding that a defendant commits a
   prohibited transaction based on a plaintiff’s and participant’s own investment decisions.

           Courts recognize that Haddock does not apply where, like here, a defendant had no
   authority or control over the selection of and investment in funds. See, e.g., Hecker, 556
   F.3d at 584 (Haddock is neither “helpful [n]or persuasive”); Columbia Air Servs., Inc. v.
   Fidelity Mgt. Tr. Co., No. 07-11344-GAO, 2008 WL 4457861, at *5 (D. Mass. Sept. 30, 2008)
   (distinguishing Haddock).

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   lack Article III standing. The Court will first discuss the loss causation argument.

          To recover damages under ERISA, it is not enough to prove a breach; the burden

   is on plaintiffs to also show a loss to the plan resulting from the alleged breach. See

   Useden, 947 F.2d at 1576 n.17 (affirming defense summary judgment in an ERISA lawsuit

   and noting “the record [was] devoid of facts” showing that the alleged breach of fiduciary

   duty “in some way” caused harm to retirement plan, which is required to establish breach

   of fiduciary claim); see also Ironworkers Loc. No. 272 v. Bowen, 695 F.2d 531, 536 (11th Cir.

   1983) (plaintiffs are not entitled to a monetary recovery if the breach does not cause a loss

   ); cf. Brandt v. Grounds, 687 F.2d 895, 898 (7th Cir. 1982) (highlighting that “a causal

   connection is required between the breach of fiduciary duty and the losses incurred by

   the plan”).24

          John Hancock argues that Plaintiffs’ only damages expert based his calculations

   on the “monetary benefit” to John Hancock, not the damages incurred by Plaintiffs.

   According to John Hancock, a monetary benefit to a defendant is not a loss to a plaintiff.

   It notes that Plaintiffs’ position remained constant regardless of how John Hancock

   prepared its taxes or whether it used FTCs in any given year.

          Defendant further argues that Plaintiffs are in the same position both before and



   24
          In Useden, the Eleventh Circuit cited Brandt with approval for this point. 947 F. 2d
   at 1576 n.17.

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   after they changed recordkeepers because neither recordkeeper rebates or credits the

   FTCs to them.

          Plaintiffs challenge these arguments, saying that they “ignore[] the fiduciary

   obligation imposed on [John] Hancock.” [ECF No. 267, p. 23]. According to Plaintiffs, “if

   [John] Hancock had complied with its [fiduciary] obligation, it would have passed the

   benefit of the FTCs, which Mr. Mukamal25 calculated, to the Plan.” Id. But this response

   depends on John Hancock owing a fiduciary duty to Plaintiffs concerning the FTCs,

   which the Undersigned has already determined does not exist.

          The Undersigned agrees with John Hancock. Its alleged benefit from the FTCs is

   not a measure of the Plan’s loss.

          Plaintiffs agree that their Plan never received the amount of the dividends from

   foreign securities that were used to pay foreign taxes; such amounts were withheld by

   the foreign taxing authorities. They also agree that, today, their Plan continues to utilize

   as investment options mutual funds that invest in foreign securities, which are still

   subject to those same foreign taxes. And they admit that the Plan, today, does not receive

   any FTC rebates or credits from their current recordkeeper, Fidelity, for those withheld

   foreign taxes.




   25
         Barry Mukamal is Plaintiffs’ damages expert. In a separate Order, the Court
   denied John Hancock’s Daubert motion to strike his testimony.
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          The Plan is in the same position today vis-à-vis foreign taxes and FTCs -- foreign

   taxes are withheld from dividends on foreign securities owned by the Plan’s mutual

   funds, and the Plan receives no benefit of FTCs. Therefore, it suffered no loss caused by

   John Hancock’s alleged misconduct and is not entitled to damages.

          Plaintiffs’ response is that ERISA § 409(a) allows disgorgement of a breaching

   fiduciary’s profits. [ECF No. 267, at pp. 23–24]. But as a leading treatise on remedies

   authored by Professor Dan B. Dobbs explains, and the Eleventh Circuit agrees, restitution

   is not a measure of damages: “The fundamental difference between restitution and actual

   damages . . . is that the former is measured by the defendant’s gain, while the latter is

   measured by the plaintiff’s loss.” AcryliCon USA, LLC v. Silikal GmbH, 985 F.3d 1350, 1368

   (11th Cir. 2021) (citing Dan B. Dobbs, Law of Remedies [“Dobbs”] § 4.1(1), at 555 (2d ed.

   1993)). John Hancock argued this precise point in its summary judgment motion, and

   Plaintiffs did not refute it. See [ECF No. 219, p. 23 (citing Dobbs § 1.1)].26



   26
           A party is deemed to have waived an argument when it offers no response to an
   argument made by its opponent. S.D. Fla. L.R. 7.1(c) (failure to respond to a motion or
   argument “may be deemed sufficient cause for granting the motion by default”); Grant v.
   Miami-Dade Cty., No. 13-22008-CIV, 2014 WL 7928394, at *9 (S.D. Fla. Dec. 11, 2014)
   (“Where a plaintiff fails to respond to an argument in a motion for summary judgment,
   he waives the argument.”) (citing Mitchell v. ConAgra Foods, Inc., 448 F. App’x 911, 914
   (11th Cir. 2011)); Phillips v. Hillcrest Med. Ctr., 244 F.3d 790, 800 n.10 (10th Cir. 2001) (“[A]
   litigant who fails to press a point by supporting it with pertinent authority, or by showing
   why it is sound despite a lack of supporting authority or in the face of contrary authority,
   forfeits the point. The court will not do his research for him.” (internal quotations
   omitted)).
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          Therefore, while restitution might be available if John Hancock breached a duty as

   a fiduciary (which it did not), Plaintiffs are not entitled to damages even if they prove a

   breach, because there was no loss to their Plan caused by the challenged conduct, which

   makes a damages recovery unavailable.

                            Do Plaintiffs Have Article III Standing?

          Article III vests the judicial power in the federal courts and extends that power to

   “Cases” and “Controversies.” U.S. Const. art. III, §§ 1-2. One tool for determining that the

   matters before us are truly cases or controversies, as understood by Article III, is the

   doctrine of standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). “The law of

   Article III standing . . . serves to prevent the judicial process from being used to usurp the

   powers of the political branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013).

   Even when those political branches appear to have granted federal courts jurisdiction by

   statute and rule, the Court is still obliged to examine whether jurisdiction exists under

   the Constitution.

          As the Supreme Court has explained, the “irreducible constitutional minimum” to

   establish Article III standing requires three elements. Lujan, 504 U.S. at 560. “The plaintiff

   must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged

   conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial




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   decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing Lujan, 504 U.S. at 560-

   61); see also Franchise Tax Bd. Of Cal. V. Alcan Aluminum Ltd., 493 U.S. 331, 335 (1990) (a

   plaintiff must show that she “personally suffered actual or threatened injury as a result

   of the putatively illegal conduct”).

          These principles apply to class actions. “[I]t is well-settled that prior to the

   certification of a class . . . the district court must determine that at least one named class

   representative has Article III standing to raise each class subclaim.” Prado-Steiman v. Bush,

   221 F.3d 1266, 1279 (11th Cir. 2000).

          The Court concludes that Plaintiffs have not established Article III standing, which

   means that this is another ground on which to grant John Hancock’s summary judgment

   motion.

          To be sure, the Court earlier decided to reject John Hancock’s position, raised at

   the class certification stage, that Plaintiffs lacked standing. However, that ruling on

   standing focused on Plaintiffs’ allegations that Defendant improperly retained the FTCs

   in violation of its fiduciary duty. It did not determine whether John Hancock was in fact

   a fiduciary for the FTCs, whether the FTCs are plan assets, or whether Plaintiffs’ situation

   would have remained the same regardless of whether Defendant used the FTCs in any

   particular year.

          A court should consider standing in light of two important considerations. First,


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   the plaintiff bears the burden to satisfy the standing requirements. Lujan, 504 U.S. at 561

   (“The party invoking federal jurisdiction bears the burden of establishing these

   elements.”). Second, these elements are “not mere pleading requirements.” Id. Instead, a

   plaintiff must show “each element . . . in the same way as any other matter on which the

   plaintiff bears the burden of proof.” Id.

          In the instant case, of course, the Court first evaluated the Article III standing

   requirement in connection with Plaintiffs’ motion for class certification, which the

   Undersigned granted over John Hancock’s opposition. John Hancock’s summary

   judgment motion raises again the standing issue, which requires the Undersigned to have

   another look at the doctrine here.

          Courts may always evaluate their own jurisdiction in a case, and courts have

   jurisdiction to determine whether they have jurisdiction. “[I]t is familiar law that a federal

   court always has jurisdiction to determine its own jurisdiction.” In re Nica Holdings, Inc.,

   810 F.3d 781, 789 (11th Cir. 2015) (citing United States v. Ruiz, 536 U.S. 622, 628, 122 S. Ct.

   2450, 2454, 153 L.Ed.2d 586 (2002)). Therefore, the mere fact that this Court previously

   concluded for class certification purposes that Plaintiffs have standing does not

   immunize the standing requirement from further inquiry. Baghdasarian v. Amazon.com,

   Inc., No. 05–8060, 2009 WL 4823368, at *4 (C.D. Cal. Dec. 9, 2009) (allegations of standing

   found sufficient at the class certification stage do not definitively establish standing for


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   purposes of summary judgment), aff'd, 458 F. App’x 622 (9th Cir. 2011); Coleman v. Gen.

   Motors Acceptance Corp., 220 F.R.D. 64, 87 (M.D. Tenn. 2004) (certifying class with the

   caveat that “[s]hould discovery fail to substantiate the plaintiffs' allegations and the

   inferences the court now draws in their favor, GMAC may again challenge [the] plaintiffs'

   ability to establish standing on a motion for summary judgment”); Antenor v. D & S Farms,

   39 F. Supp. 2d 1372, 1376-77 (S.D. Fla. 1999) (“In deciding whether to certify the class, this

   Court was required to look only to the allegations of the Complaint” but “[o]nce a class

   is certified and class representatives are appointed . . . those class representatives . . . must

   demonstrate their standing in opposition to summary judgment.” (citing 1 HERBERT B.

   NEWBERG & ALBA CONTE, 1 NEWBERG ON CLASS ACTIONS § 2.07, at 40–41 (2d

   ed.)).

            The Eleventh Circuit has acknowledged that standing is “perhaps the most

   important jurisdictional doctrine.” Bochese v. Town of Ponce Inlet, 405 F.3d 964, 974 (11th

   Cir. 2005) (internal citation omitted). The doctrine “stems directly from Article III’s ‘case

   or controversy’ requirement.” Id. (quoting Nat’l Parks Conservation Ass’n v. Norton, 324

   F.3d 1229, 1242 (11th Cir. 2003)). And it “implicates [the] subject matter jurisdiction” of a

   federal court. Id.

            As the United States Supreme Court confirmed relatively recently, “there is no

   ERISA exception to Article III.” Thole v. U.S. Bank N.A., 140 S. Ct. 1615, 1622 (2020)


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   (affirming ruling that participants in defined benefit pension plan lacked Article III

   standing to bring class action ERISA lawsuit).

          For purposes of meeting the critical Article III standing requirement, Plaintiffs

   have not shown an injury attributable to John Hancock’s use of the FTCs. Their Plan could

   not use FTCs and their Plan’s contractual entitlement was to assets valued using a mutual

   fund’s NAV -- which is set net of foreign taxes. Therefore, they have no standing to seek

   any monetary relief because they have not incurred a redressable injury. See, e.g., Trichell

   v. Midland Credit Mgmt., Inc., 964 F.3d 990, 1004 (11th Cir. 2020) (no standing where

   disclosures did not mislead plaintiffs; informational injury that causes no adverse effects

   cannot satisfy Article III); Trustees of Upstate New York Engineers Pension Fund v. Ivy Asset

   Mgmt., 843 F.3d 561, 569 (2d Cir. 2016) (no standing in ERISA suit where plaintiffs did

   not sustain an actual, cognizable investment loss).

          To the extent this ruling is substantively different than the earlier standing

   discussion in the class certification motion, a district court has inherent power to “modify

   or rescind its orders at any point prior to final judgment in a civil case. Dietz v. Bouldin,

   579 U.S. 40, 46 (2016); see also Securities and Exchange Comm’n v. Management Solutions, Inc.,

   824 Fed. Appx. 550, 553 (10th Cir. 2020) (inherent power to “manage its own affairs so as

   to achieve the orderly and expeditious disposition of cases” includes “the power to

   modify or rescind its orders at any time prior to final judgment in a civil case”); Mowrer


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   v. United States Dept. of Transportation, 14 F.4th 723, 733 D.C. Cir. 2021) (court was not

   bound by earlier comment and noting that the district court “changed course long before

   final judgment” and then “reasonably explained its revised position”).

          Plaintiffs have not met their burden of establishing Article III standing, another

   ground on which to support an Order granting Defendant’s summary judgment motion.

   Conclusion

          This Order began with a quote from a famous philosopher, and it will end with

   one, from Nobel Prize-winning French philosopher and writer Jean Paul Sartre (1905-

   1980), who famously said, “We are our choices.” At its core, Plaintiffs’ lawsuit is

   inconsistent with the choices they made about their ERISA plan and the party with whom

   they contracted to provide ERISA-related services.

          There was nothing disloyal about John Hancock’s using for itself the FTCs which

   only it, as the taxpayer, could use. Not only could Plaintiffs not use the FTCs, but they do

   not pinpoint any contractual language requiring John Hancock to give them the

   functional equivalent of the FTCs -- a rebate or credit. Moreover, Plaintiffs did not cite

   any on-point legal authority supporting their unique premise that John Hancock was

   required to provide rebates or credits merely because Plaintiffs themselves chose to invest

   in mutual funds which invested in foreign securities. Likewise, Plaintiffs did not submit

   legal authority establishing that John Hancock’s use of the FTCs breached a fiduciary


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   duty or was somehow a prohibited transaction even though authorized by the federal tax

   code.

           It was Plaintiffs, not John Hancock, who decided that the Plan would be

   responsible for foreign tax payments by selecting the funds that they did. It was Plaintiffs

   who decided to terminate their relationship with John Hancock by selecting another

   entity to provide the services which John Hancock had been providing even though the

   replacement did not provide FTCs (or rebates or credits for the FTCs) either. Plaintiffs

   chose to enter into a contract with John Hancock which expressly and unequivocally

   disclaimed John Hancock’s possible role as a possible fiduciary except in limited

   ministerial-act circumstances inapplicable here.

           The Court grants John Hancock’s summary judgment motion for all the reasons

   outlined above.

           Defendant will need to publicly file a redacted version of this Order on CM/ECF

   within three business days of this Order.

           In addition, the parties shall within five business days of this Order meet and

   confer and, assuming there is agreement, submit a proposed Notice (discussing this

   summary judgment ruling so that class members will learn of it). If a joint proposal is not

   reached on the specific wording, then each side shall submit its own version of the

   proposed Notice by the same deadline.


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         The Parties shall also by the same deadline submit jointly (if possible) a proposal

   concerning the logistics of providing notice (e.g., mailings, websites, etc.) to class

   members about this summary judgment ruling. This proposal shall also discuss which

   party (or parties) will be financially responsible for the Notice. If a joint filing is not

   possible, then each side shall submit its own proposal by the same deadline.

         DONE AND ORDERED in Chambers, in Miami, Florida, on May 9, 2022.




   Copies furnished to:
   All Counsel of Record




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